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                        Case 3:24-cv-08234-DWL               Document 1-1             Filed 12/13/24         Page 2 of 150
                                             UNITED STATES DISTRICT COURT DISTRICT OF ARIZONA


                                                                  Civil Cover Sheet


This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September 1974. The
data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained herein neither
replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for use only in the District
of Arizona.

       The completed cover sheet must be printed directly to PDF and filed as an attachment to the Complaint or Notice of Removal.


                                                                                          Tyco Fire Produces, LP; CarrierGlobal
                                                                                          Corporation , ; Matlick Enterprises, Inc. dbaUnited
 Plaintiff(s):   Wesley Forbach and Evenstar A. Forbach , ;                 Defendant(s):
                                                                                          Fire Equipment Company


County of Residence: Coconino                                              County of Residence: Outside the State of Arizona

County Where Claim For Relief Arose: Coconino

Plaintiff's Atty(s):                                                       Defendant's Atty(s):
Lincoln Combs (Matthew Grosch; Shelagh Grosch) ,                           c/o Thomas P Burke , Attorney
O’STEEN & HARRISON, PLC                                                    Udall Law Firm, LP
300 W. Clarendon Ave., Suite 400                                           2198 E. Camelback Road Suite 375
Phoenix, Arizona££85013                                                    Phoenix, AZ££85016
602-252-8888                                                               6022224848

                                                                           Scott F. Frerichs
                                                                           Jennings, Strouss & Salmon, P.C.
                                                                           One East Washington Street, Suite 1900Phoenix,
                                                                           Arizona££85004

                                                                           Miles Masog
                                                                           Resnick & Louis
                                                                           8111 E. Indian Bend Road
                                                                           Scottsdale, Arizona ££85250



IFP REQUESTED


REMOVAL FROM Coconino COUNTY, CASE #S-0300-CV-202100277

II. Basis of Jurisdiction:              3. Federal Question (U.S. not a party)

III. Citizenship of Principal
Parties(Diversity Cases Only)
                                        1 Citizen of This State
Plaintiff:-

                                        5 Non AZ corp and Principal place of Business outside AZ
Defendant:-

IV. Origin :                            2. Removed From State Court
V. Nature of Suit:                      385 Property Damage Product Liability

VI.Cause of Action:                     Strict products liability-design defect and failure to warn, negligent failure to warn, negligent plan
                                        or design of product, and loss of consortium
VII. Requested in Complaint
                                        No
Class Action:
Dollar Demand:           Case 3:24-cv-08234-DWL              Document 1-1            Filed 12/13/24         Page 3 of 150
                                         Yes
Jury Demand:

VIII. This case is not related to another case.


Signature:£Thomas P. Burke, II

££££££££Date:£12/13/24

If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser and change it.
Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

Revised: 01/2014
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                               SUPPLEMENTAL CIVIL COVER SHEET
                      FOR CASES REMOVED FROM ANOTHER JURISDICTION

                             7KLVIRUPPXVWEHDWWDFKHGWRWKH&LYLO&RYHU6KHHWDWWKHWLPH
                               WKHFDVHLVILOHGLQWKH8QLWHG6WDWHV'LVWULFW&OHUN V2IILFH
                                                              
                                      $GGLWLRQDOVKHHWVPD\EHXVHGDVQHFHVVDU\
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1.      Style of the Case:
         3OHDVH LQFOXGH DOO 3ODLQWLII V  'HIHQGDQW V  ,QWHUYHQRU V  &RXQWHUFODLPDQW V  &URVVFODLPDQW V  DQG
         7KLUG 3DUW\ &ODLPDQW V  VWLOO UHPDLQLQJ LQ WKH FDVH DQG LQGLFDWH WKHLU SDUW\ W\SH $OVR SOHDVH OLVW WKH
         DWWRUQH\ V  RI UHFRUG IRU HDFK SDUW\ QDPHG DQG LQFOXGH WKHLU EDU QXPEHU ILUP QDPH FRUUHFW PDLOLQJ
         DGGUHVVDQGSKRQHQXPEHU LQFOXGLQJDUHDFRGH 

         3DUW\                                          3DUW\7\SH            $WWRUQH\ V 
                                                        Plaintiffs             Lincoln Combs (025080)
        
        Wesley Forbach and Evenstar A. Forbach                                 
                                                                               O'STEEN   & HARRISON, PLC
                                                                               300 W. Clarendon Ave., Suite 400
                                                                               Phoenix, Arizona 85013-3424




                                                        Plaintiffs             Kerry Miller (PHV)
        
        Wesley Forbach and Evenstar A. Forbach                                  W. Burge
                                                                               Jason
                                                                               Danielle Teutonico
                                                                               FISHMAN HAYGOOD LLP
                                                                               201 St. Charles Ave., Floor 46
                                                                               New Orleans, Louisiana 70170
                                                                               504.586.5252


                                                        Plaintiffs             Paul J. Napoli (PHV)
        
        Wesley Forbach and Evenstar A. Forbach                                 
                                                                               NAPOLI   SHKOLNIK NSPR LAW SERVICES, LLC
                                                                               1302 Avenida Ponce de Leon
                                                                               Santurce, Puerto Rico 00907
                                                                               T: (787) 493-5088




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2.      Jury Demand:
         :DVD-XU\'HPDQGPDGHLQDQRWKHUMXULVGLFWLRQ"<HV1R
         ,I<HVE\ZKLFKSDUW\DQGRQZKDWGDWH"
         Matlick Enterprises, Inc dba United Fire Equipment Company                                                  07/29/2001
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3.      Answer:
         :DVDQ$QVZHUPDGHLQDQRWKHUMXULVGLFWLRQ"<HV1R
         ,I<HVE\ZKLFKSDUW\DQGRQZKDWGDWH"
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Supp CV Cover Sheet (rev 8/20/2015)
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              Case 3:24-cv-08234-DWL Document 1-1 Filed 12/13/24 Page 5 of 150
4.      Served Parties:
         7KHIROORZLQJSDUWLHVKDYHEHHQVHUYHGDWWKHWLPHWKLVFDVHZDVUHPRYHG
         
         3DUW\                                  'DWH6HUYHG          0HWKRGRI6HUYLFH
        
        Chemguard, Inc.,                             
                                                     N/A                        

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        Perimeter Solutions                          
                                                     N/A                        

        
        Matlick Enterprises, Inc                      
                                                     8/13/2021                  
                                                                                Wavier and Acceptance of Service


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5.      Unserved Parties:
         7KHIROORZLQJSDUWLHVKDYHQRWEHHQVHUYHGDWWKHWLPHWKLVFDVHZDVUHPRYHG
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         3DUW\                                             5HDVRQ1RW6HUYHG
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6.      Nonsuited, Dismissed or Terminated Parties:
         3OHDVH LQGLFDWH FKDQJHV IURP WKH VW\OH RI WKH SDSHUV IURP DQRWKHU MXULVGLFWLRQ DQG WKH UHDVRQ IRU WKH
         FKDQJH
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         3DUW\                                                   5HDVRQIRU&KDQJH
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7.      Claims of the Parties:
         7KHILOLQJSDUW\VXEPLWVWKHIROORZLQJVXPPDU\RIWKHUHPDLQLQJFODLPVRIHDFKSDUW\LQWKLVOLWLJDWLRQ
         
         3DUW\                                           &ODLPV
        Plaintiffs                                               (1) Strict Products Liability-Design Defect and Failure to Warn;(2) Failure
                                                                to Warn; (3) Negligent Plan or Product of Design; (4) Punitive Damages

        Plaintiffs                                               (5) Loss of Consortium
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Pursuant to 28 USC § 1446(a) a copy of all process, pleadings, and orders served in
another jurisdiction (State Court) shall be filed with this removal.


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    1. STYLE OF CASE (continued)
        Party                  Party Type             Attorney(s)
        7\FR)LUH3URGXFWV/3 'HIHQGDQW             7KRPDV3%XUNH  
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      UDALL LAW FIRM, LLP
  ATTORNEYS AT LAW
      2198 E. CAMELBACK ROAD, SUITE 375
  PHOENIX, AZ 85016
      T (602) 222-4848
  F (602) 222-4858
      WEXUNH#XGDOOODZFRP
  PLQXWHHQWULHV#XGDOOODZFRP
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                                  FOR THE DISTRICT OF ARIZONA
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 7\FR)LUH3URGXFWV/3&DUULHU*OREDO          DECLARATION OF THOMAS P.
                                                     BURKE
 &RUSRUDWLRQDQG0DWOLFN(QWHUSULVHV,QF
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 NQRZOHGJHDQGEHOLHIGHIHQGDQW¶V1RWLFHRI5HPRYDOFRQWDLQVWUXHDQGFRPSOHWHFRSLHVRI
 DOOSOHDGLQJVDQGRWKHUGRFXPHQWVILOHGDVRI0D\LQWKHFDVHRI:HVOH\)RUEDFK
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     (TXLSPHQW&RPSDQ\ ³8QLWHG)LUH´DQGFROOHFWLYHO\ZLWK&KHPJXDUGDQG3HULPHWHU

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     IROORZV

                                           INTRODUCTION

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     FRQWDLQLQJWKHWR[LFFKHPLFDOVFROOHFWLYHO\NQRZQDVSHUDQGSRO\IOXRURDON\OVXEVWDQFHV

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    SHUIOXRURRFWDQH VXOIRQLF DFLG ³3)26´  DQG UHODWHG FKHPLFDOV LQFOXGLQJ WKRVH WKDW

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    FRDWLQJ HYHU\ VXUIDFH ZLWK D WKLFN FRQFHQWUDWLRQ RI IRDP WR SUHYHQW ILUHV IURP

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    UHOHDVHG WUDLQHG XVHUV SURGXFHG LQVWUXFWLRQDO PDWHULDOV SURPRWHG VROG DQGRU

    RWKHUZLVH UHOHDVHG LQWR WKH VWUHDP RI FRPPHUFH $)))V ZLWK NQRZOHGJH WKDW WKH\

    FRQWDLQHGKLJKO\WR[LF3)$6ZKLFKZRXOGH[SRVHHQGXVHUVRIWKHSURGXFWWRWKHULVNV

    DVVRFLDWHG ZLWK 3)$6 (DFK RI WKH 'HIHQGDQWV VXSSOLHG $)))V HLWKHU RQ D

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     FDUFLQRJHQLF FKHPLFDOV 'HIHQGDQWV NQHZ RU VKRXOG KDYH NQRZQ WKDW 3)$6 SUHVHQW

     VLJQLILFDQWKHDOWKULVNVWRKXPDQVZKRDUHH[SRVHGWRWKHP

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                            PARTIES, JURISDICTION, AND VENUE

                 3ODLQWLIIVDUHDPDUULHGFRXSOHUHVLGLQJLQ&RFRQLQR&RXQW\$UL]RQD

                 'HIHQGDQW &KHPJXDUG ,QF ³&KHPJXDUG´  LV D :LVFRQVLQ FRUSRUDWLRQ

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    6$8 ³3HULPHWHU´  LV D 'HODZDUH OLPLWHG SDUWQHUVKLS DQG GRHV EXVLQHVV WKURXJKRXW

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     &RPSDQ\ ³8QLWHG)LUH´ LVDQ$UL]RQDFRUSRUDWLRQDQGGRHVEXVLQHVVWKURXJKRXWWKLV

     VWDWH LQFOXGLQJ LQ &RFRQLQR &RXQW\ 8QLWHG )LUH PDUNHWHG GLVWULEXWHG DQGRU VROG

     $)))V FRQWDLQLQJ 3)$6 WKDW DUH XVHG LQ ILUHILJKWLQJ WUDLQLQJ DQG UHVSRQVH H[HUFLVHV

     WKDWDUHWKHVXEMHFWRIWKLV&RPSODLQW

               &KHPJXDUG DQG 3HULPHWHU DUH KHUHDIWHU UHIHUUHG WR DV WKH ³0DQXIDFWXUHU

    'HIHQGDQWV´8QLWHG)LUHDUHKHUHDIWHUUHIHUUHGWRDVWKH³'LVWULEXWRU'HIHQGDQW´

               'HIHQGDQWVKDYHFDXVHGHYHQWVWRRFFXULQ&RFRQLQR&RXQW\$UL]RQDRXW

    RI ZKLFK DOO FODLPV VWDWHG KHUHLQ DULVH DQG YHQXH LV SURSHU LQ WKLV &RXUW SXUVXDQW WR

    $56

               7KH DPRXQW LQ FRQWURYHUV\ H[FHHGV WKH &RXUW¶V PLQLPXP MXULVGLFWLRQDO

    DPRXQW

               7KH&RXUWKDVMXULVGLFWLRQRIWKLVDFWLRQSXUVXDQWWR$UWLFOH9,VHFWLRQ

    RIWKH$UL]RQD&RQVWLWXWLRQDQG$56

                                    GENERAL ALLEGATIONS

               $TXHRXV )LOP)RUPLQJ )RDP ³$)))´  LV D FRPELQDWLRQ RI FKHPLFDOV

    XVHGWRH[WLQJXLVKILUHV

               $)))KDVEHWWHUILUHILJKWLQJFDSDELOLWLHVWKDQZDWHUEHFDXVHRILWVXQLTXH

    SURSHUWLHV ZKLFK H[WLQJXLVK ILUHV E\ VPRWKHULQJ WKHP XOWLPDWHO\ VWDUYLQJ WKHP RI

    R[\JHQ



                                                        
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                $)))VFDQEHXVHGWRILJKWILUHVGLUHFWO\LQFRQMXQFWLRQZLWKRULQSODFHRI

     ZDWHURUWKH\FDQEHXVHGWRLQVXODWHSUHPLVHVWKDWZHUHSUHYLRXVO\RQILUHWRSUHYHQW

     ILUHIURPUHLJQLWLQJ

                $)))ZDVLQWURGXFHGFRPPHUFLDOO\LQWKHPLGVDQGUDSLGO\EHFDPH

     WKH SULPDU\ ILUHILJKWLQJ IRDP LQ WKH 8QLWHG 6WDWHV DQG RWKHU SDUWV RI WKH ZRUOG $)))

     FRQWDLQV 3)$6 ZKLFK DUH KLJKO\ IOXRULQDWHG V\QWKHWLFDO FKHPLFDO FRPSRXQGV ZKRVH

     IDPLO\LQFOXGHV3)26DQG3)2$

                3)$6 KDYH EHHQ XVHG IRU GHFDGHV LQ WKH PDQXIDFWXUH RI $))) 3)$6

     FKHPLFDOVDUHHQWLUHO\PDQPDGHDQGGRQRWQDWXUDOO\RFFXU

               3ULRUWRFRPPHUFLDOGHYHORSPHQWDQGODUJHVFDOHPDQXIDFWXUHDQGXVHRI

    $)))FRQWDLQLQJ3)$6QRVXFK3)$6KDGEHHQIRXQGRUGHWHFWHGLQKXPDQV

               $))) DQG 3)$6 DUH DVVRFLDWHG ZLWK YDULRXV DGYHUVH KHDOWK HIIHFWV LQ

    KXPDQV

               ([SRVXUH WR $))) KDV EHHQ OLQNHG WR VHULRXV PHGLFDO FRQGLWLRQV

    LQFOXGLQJ EXW QRW OLPLWHG WR NLGQH\ FDQFHU WHVWLFXODU FDQFHU WHVWLFXODU WXPRUV

    SDQFUHDWLF FDQFHU SURVWDWH FDQFHU OHXNHPLD O\PSKRPD EODGGHU FDQFHU WK\URLG

    GLVHDVHDQGLQIHUWLOLW\

               ,Q WKH V VWXGLHV E\ 3)$6 PDQXIDFWXUHUV UDLVHG FRQFHUQV DERXW WKH

    KHDOWKULVNVFDXVHGE\WKHVHVXEVWDQFHV 

               %\WKHVDQLPDOVWXGLHVRI3)$6UHYHDOHGLPPXQRWR[LFLW\DQGRWKHU

    DGYHUVHHIIHFWV

               %\ WKH V VWXGLHV E\ 3)$6 PDQXIDFWXUHUV UHSRUWHG LPPXQRWR[LFLW\

    DQGFDUFLQRJHQLFLW\HIIHFWVFDXVHGE\3)$6

                                   
       KWWSVZZZQFELQOPQLKJRYSPFDUWLFOHV30&


                                                       
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                %\WKHVFHUWDLQ3)$6PDQXIDFWXUHUVEHJDQPRQLWRULQJWKHOHYHOVRI

     3)$6LQWKHEORRGVHUXPRIWKHLUZRUNHUV6WXGLHVEHJDQVKRZLQJDQH[FHVVRFFXUUHQFH

      RISURVWDWHFDQFHULQLQGLYLGXDOVH[SRVHGWR3)$6

                %\ DW OHDVW  DGGLWLRQDO UHVHDUFK DQG WHVWLQJ SHUIRUPHG E\ FHUWDLQ

     3)$6PDQXIDFWXUHUVUHYHDOHGPXOWLSOHSRWHQWLDODGYHUVHKHDOWKLPSDFWVDPRQJZRUNHUV

     H[SRVHGWR3)$6VXFKDVLQFUHDVHGFDQFHULQFLGHQFHKRUPRQHFKDQJHVOLSLGFKDQJHV

     DQGWK\URLGDQGOLYHULPSDFWV

                $IWHU WKH 86(3$ DQG RWKHU HQWLWLHV EHJDQ DVNLQJ PDQXIDFWXUHUV WR VWRS

     PDQXIDFWXULQJ DQGRU XVLQJ FHUWDLQ 3)$6 'HIHQGDQWV EHJDQ PDQXIDFWXULQJ DQGRU

    GLVWULEXWLQJPRUHRIFHUWDLQRWKHUDQGRU³QHZ´3)$6LQFOXGLQJVRFDOOHG³6KRUW&KDLQ

    3)$6´

               'HIHQGDQWV PDQXIDFWXULQJ DQGRU GLVWULEXWLQJ 6KRUW&KDLQ 3)$6 DUH

    DZDUHWKDW6KRUW&KDLQ3)$6KDYHDOVREHHQIRXQGLQKXPDQEORRG%\WKHPLGV

    PDQXIDFWXUHUVZHUHDZDUHWKDWFHUWDLQ6KRUW&KDLQ3)$6KDYHEHHQIRXQGWRFDXVHWKH

    VDPH WULDG RI WXPRUV WHVWLFXODU OLYHU DQG SDQFUHDWLF  LQ DQLPDOV DV QRQ6KRUW&KDLQ

    3)$6

               0RUHRYHU E\ WKH HDUO\ V UHVHDUFK RQ 6KRUW&KDLQ 3)$6 VXJJHVWHG

    WKDW WKH WHFKQLFDO SHUIRUPDQFH RI WKHVH 6KRUW&KDLQ 3)$6 LV ORZHU UHTXLULQJ ODUJHU

    TXDQWLWLHVDQGRUPRUHVXEVWDQFHVWREHXVHGWRSURYLGHWKHVDPHSHUIRUPDQFHOHDGLQJ

    WRWKHVDPHDJJUHJDWHH[SRVXUHIRUDIIHFWHGKXPDQV

               1RQHWKHOHVV'HIHQGDQWVHDFKGRZQSOD\HGWKHULVNVRI$)))VFRQWDLQLQJ

    3)$6 WR ILUHILJKWHUV OLNH :HVOH\ )RUEDFK 'HIHQGDQW &KHPJXDUG IRU LQVWDQFH

    UHSUHVHQWHGWKDWLWV$)))VZHUH³QRWDFDUFLQRJHQ´DQGWKDWVNLQH[SRVXUHFDXVHGRQO\

    D³PLQLPDOLUULWDQW´  'HIHQGDQW 3HULPHWHU 6ROXWLRQVUHSUHVHQWHGWKDWVNLQFRQWDFWZDV

    ³QRPRUHWKDQVOLJKWO\WR[LF´

                                                      
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                (YHQ DIWHU DQ LQGHSHQGHQW VFLHQFH SDQHO NQRZQ DV WKH ³& 6FLHQFH

     3DQHO´ DQQRXQFHG LQ WKH V WKDW KXPDQ H[SRVXUH WR 3)$6 ZHUH DVVRFLDWHG ZLWK

     FHUWDLQ KXPDQ GLVHDVHV LQFOXGLQJ NLGQH\ DQG WHVWLFXODU FDQFHU  'HIHQGDQWV FRQWLQXHG

     WRGRZQSOD\WKHULVNRI$)))V

                $W DOO UHOHYDQW WLPHV 0DQXIDFWXUHU 'HIHQGDQWV WKURXJK WKHLU DFWV DQG

     RPLVVLRQV FRQFHDOHG DQGRU ZLWKKHOG LQIRUPDWLRQ IURP WKHLU FXVWRPHUV JRYHUQPHQWDO

     HQWLWLHVDQGWKHSXEOLFWKDWZRXOGKDYHSURSHUO\DQGIXOO\DOHUWHG3ODLQWLIIWRWKHULVNVRI

     H[SRVXUHWR$)))VFRQWDLQLQJ3)$6

                $WDOOUHOHYDQWWLPHV'HIHQGDQWVHQFRXUDJHGFRQWLQXHGDQGLQFUHDVHGXVH

     RI3)$6E\WKHLUFXVWRPHUVDQGRWKHUVDQGWULHGWRHQFRXUDJHDQGIRVWHUWKHLQFUHDVHG

     DQGIXUWKHUXVHRI3)$6WKURXJKWKHSURPRWLRQRI$)))VWRILUHGHSDUWPHQWVLQFOXGLQJ

     WKHILUHGHSDUWPHQWZKHUH:HVOH\)RUEDFKZRUNVZKLOHGRZQSOD\LQJWKHULVNV

               $W DOO UHOHYDQW WLPHV 0DQXIDFWXUHU 'HIHQGDQWV ZHUH DQGRU VKRXOG KDYH

     EHHQ DZDUH RU NQHZ DQGRU VKRXOG KDYH NQRZQ WKDW WKHLU GHVLJQ PDUNHWLQJ

     GHYHORSPHQW PDQXIDFWXUH GLVWULEXWLRQ UHOHDVH WUDLQLQJ DQG UHVSRQVH RI XVHUV

     SURGXFWLRQ RI LQVWUXFWLRQDO PDWHULDOV DQGRU VDOH RI $)))V FRQWDLQLQJ 3)$6 ZRXOG

     UHVXOW LQ WKH FRQWDPLQDWLRQ RI WKH EORRG DQGRU ERG\ RI :HVOH\ )RUEDFK ZLWK 3)$6

     FDXVLQJ LQMXU\ LUUHSDUDEOH KDUP DQGRU XQDFFHSWDEOH ULVN RI VXFK LQMXU\ DQGRU

     LUUHSDUDEOHKDUPWR:HVOH\)RUEDFK

               Defendants’ AFFFs were used by the Flagstaff Fire Department

               'HIHQGDQWV GHVLJQHG PDUNHWHG GHYHORSHG PDQXIDFWXUHG GLVWULEXWHG

    UHOHDVHGWUDLQHGXVHUVSURGXFHGLQVWUXFWLRQDOPDWHULDOVDQGRUVROG$)))VFRQWDLQLQJ



                                  
       KWWSVHKSQLHKVQLKJRYGRLSGIHKS


                                                      
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     WR[LF3)$6WKDWZHUHXVHGE\ILUHGHSDUWPHQWVDURXQGWKHFRXQWU\LQFOXGLQJFRXQW\DQG

     PXQLFLSDOILUHILJKWLQJGHSDUWPHQWV

                 'HIHQGDQWV HDFK GHVLJQHG PDUNHWHG GHYHORSHG PDQXIDFWXUHG

     GLVWULEXWHGUHOHDVHGWUDLQHGXVHUVSURGXFHGLQVWUXFWLRQDOPDWHULDOVDQGRUVROG$)))V

     FRQWDLQLQJ3)$6LQVXFKDZD\DVWRFDXVHWKHH[SRVXUHWRDQGXOWLPDWHFRQWDPLQDWLRQ

     RI :HVOH\ )RUEDFK¶ V EORRG DQG ERG\ ZLWK 3)$6 UHVXOWLQJ LQ SHUVLVWHQFH DQG

     DFFXPXODWLRQRI3)$6LQKLVEORRGDQGERG\

                 (DFK RI WKH 'HIHQGDQWV PDQXIDFWXUHG VROG DQGRU GLVWULEXWHG $)))V WR

     WKH )ODJVWDII )LUH 'HSDUWPHQW WKHUHE\ FDXVLQJ WKH FRQWDPLQDWLRQ RI WKH EORRG DQGRU

    ERG\RI:HVOH\)RUEDFKZLWK3)$6

                &KHPJXDUG PDQXIDFWXUHG DQGRU VROG $)))V LQFOXGLQJ &KHPJXDUG

    'LUHFWDWWDFN&ODVV$)RDPDQG&ODVV$3OXV)RDPWR)ODJVWDII)LUH'HSDUWPHQWEDVHG

    XSRQ LQIRUPDWLRQ DQG EHOLHI GXULQJ DOO UHOHYDQW WLPH SHULRGV &KHPJXDUG¶ V $)))V

    ZHUHXVHGE\ILUHILJKWHUVLQWKH)ODJVWDII)LUH'HSDUWPHQWLQFOXGLQJ:HVOH\)RUEDFKLQ

    WKHLURUGLQDU\FRXUVHRIILUHILJKWLQJDFWLYLWLHVDQGLQWKHPDQQHULQZKLFKWKHVH$)))V

    ZHUHH[SHFWHGWREHXVHGE\&KHPJXDUGWKHUHE\H[SRVLQJ:HVOH\)RUEDFKWR3)$6

                3HULPHWHU PDQXIDFWXUHG DQGRU VROG $)))V LQFOXGLQJ 3KRV&KHN ILUVW

     5HVSRQVH )RDP WR WKH )ODJVWDII )LUH 'HSDUWPHQW EDVHG XSRQ LQIRUPDWLRQ DQG EHOLHI

     GXULQJ DOO UHOHYDQW WLPH SHULRGV 3HULPHWHU¶V $)))V ZHUH XVHG E\ ILUHILJKWHUV LQ WKH

     )ODJVWDII )LUH 'HSDUWPHQW LQFOXGLQJ :HVOH\ )RUEDFK LQ WKHLU RUGLQDU\ FRXUVH RI

     ILUHILJKWLQJDFWLYLWLHVDQGLQWKHPDQQHULQZKLFKWKHVH$)))VZHUHH[SHFWHGWREHXVHG

     E\&KHPJXDUGWKHUHE\H[SRVLQJ:HVOH\)RUEDFKWR3)$6

                8QLWHG )LUH GLVWULEXWHG $)))V WR WKH )ODJVWDII )LUH 'HSDUWPHQW EDVHG

    XSRQ LQIRUPDWLRQ DQG EHOLHI GXULQJ DOO UHOHYDQW WLPH SHULRGV $)))V GLVWULEXWHG E\

    8QLWHG )LUH ZHUH XVHG E\ ILUHILJKWHUV LQ WKH )ODJVWDII )LUH 'HSDUWPHQW LQFOXGLQJ

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     :HVOH\)RUEDFKLQWKHLURUGLQDU\FRXUVHRIILUHILJKWLQJDFWLYLWLHVDQGLQWKHPDQQHULQ

     ZKLFKWKHVH$)))VZHUHH[SHFWHGWREHXVHGE\8QLWHG)LUHWKHUHE\H[SRVLQJ:HVOH\

     )RUEDFKWR3)$6

                          The Plaintiff’s exposure to Defendants’ AFFFs

                :HVOH\ )RUEDFK DQG KLV ZLIH (YHQVWDU $ )RUEDFK KDYH EHHQ KDSSLO\

     PDUULHGVLQFH$XJXVW

                :HVOH\ )RUEDFK EHJDQ KLV ILUH VHUYLFH FDUHHU LQ  ZLWK WKH)ODJVWDII

     )LUH'HSDUWPHQWVHUYLQJWKH&LW\RI)ODJVWDII$UL]RQD

                :HV ZDV ILUVW H[SRVHG WR $)))V LQ WKH )ODJVWDII )LUH 'HSDUWPHQW

    DFDGHP\ ZKHUH KH WUDLQHG ZLWK &ODVV $ DQG % ILUHILJKWLQJ IRDPV 'XULQJ WUDLQLQJ LW

    ZDVFRPPRQWRKDYH$)))VRQKLVERG\IURPKHDGWRWRHDQGLWZDVFRPPRQWRKDYH

    GLUHFWVNLQFRQWDFWZLWK$)))VZKLOHFOHDQLQJXSDIWHUGULOOV$WWKHWLPHKHZDVOHGWR

    EHOLHYHWKDWWKHIRDPZDVJHQHUDOO\LQHUWDQGSURYLGHGQRKD]DUGWRKLVKHDOWK$IWHUKLV

    WUDLQLQJ LQ VHUYLFH DV D ILUHILJKWHU :HV ZDV H[SRVHG WR $)))V ZKLOH VSUD\LQJ IRDP

    GXULQJILUHILJKWLQJRSHUDWLRQV

               :HV¶UHVSRQVLELOLWLHVLQFOXGHGGULYLQJSXPSLQJDQGPDLQWDLQLQJWKHILUH

    WUXFN ZKLFK LQFOXGHG SXPSLQJ $)))V FOHDQLQJ $)))V RXW RI WKH ILUHILJKWLQJ

    HTXLSPHQW DQG DGGLQJ QHZ IRDP DV QHHGHG :KLOH RSHUDWLQJ DQG FOHDQLQJ HTXLSPHQW

    XVLQJIRDPKHZDVQHYHUJLYHQDQ\LQVWUXFWLRQIURPWKHPDQXIDFWXUHUVRIGLVWULEXWRUVWR

    DYRLG FRQWDFW ZLWK $)))V RU WKDW WKH PDWHULDOV ZHUH RWKHUZLVH KDUPIXO ,Q IDFW :HV

    ZDV WROG WKDW $))) ZDV VLPSO\ H[WUD FRQFHQWUDWHG GLVK VRDS DQG SRVHG QR KHDOWK

    WKUHDWV

               )LUHILJKWHUVZKRUHJXODUO\H[SHFWWRILJKWDLUFUDIWILUHVREWDLQDQ$LUFUDIW

    5HVFXH)LUHILJKWLQJ ³$5)´ FHUWLILFDWLRQ:HVLVQRWDQGQHYHUZDV$5)FHUWLILHG+H

    KDVQHYHUIRXJKWDQDLUFUDIWILUH

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               2YHU WKH FRXUVH RI WKLUWHHQ \HDUV DV D ILUHILJKWHU ZLWK WKH )ODJVWDII )LUH

     'HSDUWPHQW IURP  WR WKH SUHVHQW :HVOH\ )RUEDFK URXWLQHO\ XVHG KDQGOHG DQG

     FDPH LQ GLUHFW FRQWDFW ZLWK $)))V FRQWDLQLQJ 3)2$ SURGXFHG PDQXIDFWXUHG VROG

     DQGRUGLVWULEXWHGE\WKH'HIHQGDQWV+LVH[SRVXUHWRWKHVHSURGXFWVZDVLQWKHRUGLQDU\

     FRXUVH RI KLV ILUHILJKWLQJ DFWLYLWLHV DQG ZDV LQ WKH VWDQGDUG ZD\ WKDW 'HIHQGDQWV

     DQWLFLSDWHGWKDWWKHVHSURGXFWVZRXOGEHXVHGDQGKDQGOHG

               ,Q  SULRU WR KLV H[SRVXUH WR DQ\ $))) IRDP :HV ZDV GLDJQRVHG

     ZLWKWHVWLFXODUFDQFHUDWWKHDJHRIDQGXQGHUZHQWDQRUFKLHFWRP\

               $IWHU RYHU D GHFDGH RI H[SRVXUH WR $))) IRDPV :HVOH\ )RUEDFK ZDV

    GLDJQRVHGDJDLQZLWKWHVWLFXODUFDQFHUZLWKDVLJQLILFDQWWXPRU+LVGRFWRUWROGKLPWKDW

    LWZDVH[WUHPHO\XQFRPPRQIRUDPDQWRJHWWHVWLFXODUFDQFHUWZLFHLQKLVOLIHWLPH+H

    LVQRWDQGKDVQHYHUEHHQDVPRNHU$PRQJRWKHUPHGLFDOWUHDWPHQWVKHXQGHUZHQWDQ

    RUFKLHFWRP\DQGFKHPRWKHUDS\+LVPHGLFDOWUHDWPHQWVFRQWLQXHWRWKLVGD\

                                  FIRST CLAIM FOR RELIEF

          (Strict Products Liability-Design Defect and Failure to Warn against All

                                             Defendants)

              3ODLQWLIIVLQFRUSRUDWHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJK

    RIWKLV&RPSODLQWDVLIWKH\ZHUHIXOO\VHWIRUWKKHUHLQ

              8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQWV DUH WKH PDQXIDFWXUHUV DQGRU

    GLVWULEXWRUVRIWKH$)))VFRQWDLQLQJ3)$6WRZKLFK:HVOH\)RUEDFKZDVH[SRVHG

              'HIHQGDQWV DUH HDFK WKH VHOOHUV RI WKH $)))V FRQWDLQLQJ 3)$6 WR ZKLFK

    :HVOH\ )RUEDFK ZDV H[SRVHG 'HIHQGDQWV VHOO $)))V LQ WKH RUGLQDU\ FRXUVH RI WKHLU

    EXVLQHVV

              7KH XVH RI WKH $)))V LQ WUDLQLQJ DFWLYLWLHV DQG URXWLQH ILUHILJKWLQJ

    DFWLYLWLHV ZDV WKH SXUSRVH IRU ZKLFK WKH $)))V ZHUH LQWHQGHG DQG ZDV UHDVRQDEO\

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      Case 3:24-cv-08234-DWL         Document 1-1        Filed 12/13/24      Page 20 of 150

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     IRUHVHHDEOHE\'HIHQGDQWV7KH$)))VZHUHXVHGLQVXEVWDQWLDOO\WKHVDPHFRQGLWLRQLQ

     ZKLFKWKH\ZHUHVROG

                 $ UHDVRQDEOH ILUHILJKWHU ZRXOG QRW H[SHFW WKH $)))V XVHG LQ WUDLQLQJ

     DFWLYLWLHVDQGURXWLQHILUHILJKWLQJDFWLYLWLHVWRH[SRVHKLPWRDNQRZQFDUFLQRJHQ

                 $)))VIDLOHGWRSHUIRUPDVVDIHO\DVDQRUGLQDU\ILUHILJKWHUZRXOGH[SHFW

     ZKHQWKH$)))VZHUHXVHGLQWKHUHDVRQDEO\IRUHVHHDEOHPDQQHURIURXWLQHILUHILJKWLQJ

     DFWLYLWLHV

                 'HIHQGDQWVGHVLJQHGDQXQUHDVRQDEO\KDUPIXOSURGXFWWKDWZDVLQKHUHQWO\

     GHIHFWLYHLQWKDWLWFRQWDLQHGNQRZQFDUFLQRJHQV

                'HIHQGDQWVKDGIXOONQRZOHGJHWKDW$)))VFRQWDLQHGNQRZQFDUFLQRJHQV

    DQGIDLOHGWRZDUQ3ODLQWLIIVRIWKHXQUHDVRQDEO\GDQJHURXVULVNV

                :HVOH\ )RUEDFK KDV VXIIHUHG ODVWLQJ DQG RQJRLQJ SHUVRQDO LQMXULHV

    UHVXOWLQJ IURP WKH GHIHFWLYH DQG XQUHDVRQDEO\ GDQJHURXV QDWXUH RI WKH SURGXFW FDXVHG

    E\LWVGHIHFWLYHGHVLJQ

                :HVOH\)RUEDFKZDVDKHDOWK\PLGGOHDJHGPDQZKRKDGIXOO\UHFRYHUHG

    IURP WHVWLFXODU FDQFHU PDNLQJ KLV OLNHOLKRRG RI GHYHORSLQJ WKH GLVHDVH D VHFRQG WLPH

    TXLWHORZ

                $V D GLUHFW DQG SUR[LPDWH UHVXOW RI WKH IRUHJRLQJ 3ODLQWLIIV KDYH EHHQ

    GDPDJHGERWKYLDSHUVRQDOLQMXULHVDQGWKURXJKORVVRIFRQVRUWLXPLQDQDPRXQWWREH

    SURYHQDWWULDO

                                 SECOND CLAIM FOR RELIEF

                (Negligent Failure to Warn Against Manufacturing Defendants)

                3ODLQWLIIVLQFRUSRUDWHWKHDOOHJDWLRQVFRQWDLQHGLQSDUDJUDSKVWKURXJK

    RIWKLV&RPSODLQWDVLIWKH\ZHUHIXOO\VHWIRUWKKHUHLQ

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      Case 3:24-cv-08234-DWL         Document 1-1       Filed 12/13/24     Page 21 of 150

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                 0DQXIDFWXULQJ 'HIHQGDQWV NQHZ WKURXJK LQWHUQDO DQG H[WHUQDO UHVHDUFK

     WKDW $)))V ZHUH OLNHO\ GDQJHURXV ZKHQ XVHG LQ WUDLQLQJ DFWLYLWLHV DQG URXWLQH

     ILUHILJKWLQJDFWLYLWLHV

                 0DQXIDFWXULQJ'HIHQGDQWVKDGQRUHDVRQWREHOLHYHWKDW3ODLQWLIIVZRXOG

     UHDOL]HWKHGDQJHURI$)))VLQFOXGLQJWKHLUFDUFLQRJHQLFHIIHFWV

                 0DQXIDFWXULQJ 'HIHQGDQWV IDLOHG WR H[HUFLVH UHDVRQDEOH FDUH WR LQIRUP

     3ODLQWLIIVRI$)))VGDQJHUVRURIWKHIDFWVZKLFKPDNHLWOLNHO\WREHGDQJHURXV

                 %HFDXVH RI 'HIHQGDQWV¶ IDLOXUH WR ZDUQ 3ODLQWLIIV DERXW WKH GDQJHUV RI

     $)))V3ODLQWLIIVVXIIHUHGSHUVRQDOLQMXULHV

                                  THIRD CLAIM FOR RELIEF

                  (Negligent Plan or Design of Product Against All Defendants)

                3ODLQWLIIVLQFRUSRUDWHWKHDOOHJDWLRQVFRQWDLQHGLQSDUDJUDSKVWKURXJK

    RIWKLV&RPSODLQWDVLIWKH\ZHUHIXOO\VHWIRUWKKHUHLQ

                $)))V SURGXFWV GHVLJQHG E\ 'HIHQGDQWV DUH GDQJHURXV IRU XVH LQ

    WUDLQLQJDFWLYLWLHVDQGURXWLQHILUHILJKWLQJDFWLYLWLHVZKLFKLVWKHLQWHQGHGXVHRI$)))V

                'HIHQGDQWVIDLOHGWRH[HUFLVHUHDVRQDEOHFDUHLQFRQWLQXLQJWRGHVLJQDQG

    IDLOLQJWRUHGHVLJQ$)))VZKLFKFRQWDLQGDQJHURXVFDUFLQRJHQV

                %HFDXVH RI 'HIHQGDQWV¶ GHIHFWLYH GHVLJQ RI $)))V 3ODLQWLIIV VXIIHUHG

    SHUVRQDOLQMXULHV

                                 FOURTH CLAIM FOR RELIEF

              (Punitive Damages against Chemguard and Perimeter Solutions)

                3ODLQWLIIVLQFRUSRUDWHWKHDOOHJDWLRQVFRQWDLQHGLQSDUDJUDSKVWKURXJK

    RIWKLV&RPSODLQWDVLIWKH\ZHUHIXOO\VHWIRUWKKHUHLQ

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      Case 3:24-cv-08234-DWL         Document 1-1       Filed 12/13/24      Page 22 of 150

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                8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQWV &KHPJXDUG DQG 3HULPHWHU

     6ROXWLRQV WKH ³0DQXIDFWXUHU 'HIHQGDQWV´  ILUVW VWDUWHG PDQXIDFWXULQJ PDUNHWLQJ DQG

     VHOOLQJ$)))VPDQ\\HDUVDJR

                2YHU WKH HQVXLQJ \HDUV WKH 0DQXIDFWXUHU 'HIHQGDQWV HLWKHU NQHZ RU

     VKRXOG KDYH NQRZQ WKDW DQ LQFUHDVLQJ YROXPH RI LQGXVWU\ UHVHDUFK GHPRQVWUDWHG WKDW

     $)))V FDXVH VHULRXV PHGLFDO HIIHFWV LQ KXPDQV ZKR DUH H[SRVHG WR WKHP GHUPDOO\

     LQFOXGLQJWLVVXHFDQFHUVVXFKDVWHVWLFXODUFDQFHU7KURXJKRXWWKDWSHULRGDQGXSWRWKH

     SUHVHQW WKH 0DQXIDFWXUHU 'HIHQGDQWV KDYH QHYHU ZDUQHG ILUHILJKWHUV RU WKH EURDGHU

     SXEOLFRIWKHNQRZQKHDOWKULVNVRI$)))V

               7KH 0DQXIDFWXUHU 'HIHQGDQWV KDG REOLJDWLRQV XQGHU YDULRXV ODZV

    LQFOXGLQJ EXW QRW OLPLWHG WR  86&     WR GLVFORVH WR YDULRXV JRYHUQPHQW

    DJHQFLHV WKH KHDOWK ULVNV RI $)))V FRQWDLQLQJ 3)$6 LQFOXGLQJ LQ SDUWLFXODU WKH

    FDUFLQRJHQLF HIIHFWV RI WKHVH SURGXFWV RI ZKLFK WKH 0DQXIDFWXUHU 'HIHQGDQWV ZHUH

    DZDUH 1RQHWKHOHVV WKH 0DQXIDFWXUHU 'HIHQGDQWV LQWHQWLRQDOO\ ZLWKKHOG IURP

    DSSOLFDEOHJRYHUQPHQWDJHQFLHVWKHLUNQRZOHGJHRIWKHKD]DUGRXVKHDOWKHIIHFWV$)))V

    FDQFDXVHWRILUHILJKWHUVOLNH:HVOH\)RUEDFK

               7KH0DQXIDFWXUHU'HIHQGDQWVFRQVFLRXVO\SXUVXHGWKLVFRXUVHRIFRQGXFW

    ± WKH PDQXIDFWXUH PDUNHWLQJ DQG VDOH RI D GHILFLHQW DQG GDQJHURXV SURGXFW ZLWK QR

    UHSUHVHQWDWLRQ WR H[SHFWHG XVHUV RI WKLV NQRZQ GDQJHU ± LQ RUGHU WR VHUYH WKHLU RZQ

    SURILWPRWLYHV

               7KH0DQXIDFWXUHU'HIHQGDQWVSXUVXHGWKHDFWLRQVVHWIRUWKDERYHGHVSLWH

    WKHLU NQRZOHGJH RI WKH VXEVWDQWLDO ULVN WKDW $)))V SRVHG WR ILUHILJKWHUV OLNH :HVOH\

    )RUEDFK

               7KH0DQXIDFWXUHU'HIHQGDQWVDFWHGZLWKDQHYLOPLQGPHULWLQJDQDZDUG

    RISXQLWLYHGDPDJHVLQDQDPRXQWWREHSURYHQDWWULDO

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                                    FIFTH CLAIM FOR RELIEF

                                          (Loss of Consortium)

                3ODLQWLIIVLQFRUSRUDWHWKHDOOHJDWLRQVFRQWDLQHGLQSDUDJUDSKVWKURXJK

      RIWKLV&RPSODLQWDVLIWKH\ZHUHIXOO\VHWIRUWKKHUHLQ

                (YHQVWDU $ )RUEDFK LV DQG ZDV DW DOO WLPHV UHOHYDQW WR WKLV DFWLRQ WKH

     OHJDOVSRXVHRI:HVOH\)RUEDFKDQGWKH\KDYHDWDOOWLPHVUHOHYDQWWRWKLVDFWLRQOLYHG

     WRJHWKHUDVKXVEDQGDQGZLIH

                $VDSUR[LPDWHUHVXOWRIWKHSHUVRQDOLQMXULHVVXIIHUHGE\:HVOH\)RUEDFK

     DVGHVFULEHGLQWKLVFRPSODLQW(YHQVWDU$)RUEDFKKDVEHHQGHSULYHGRIWKHEHQHILWVRI

    WKHLU PDUULDJH LQFOXGLQJ KLV ORYH DIIHFWLRQ VRFLHW\ DQG FRQVRUWLXP DQG RWKHU

    KXVEDQGO\GXWLHVDQGDFWLRQV:HVOH\)RUEDFKSURYLGHG(YHQVWDU$)RUEDFKZLWKDOORI

    WKH EHQHILWV RI D PDUULDJH EHWZHHQ KXVEDQG DQG ZLIH SULRU WR KLV H[SRVXUH WR

    'HIHQGDQWV¶KD]DUGRXV$)))VDQGWKHUHVXOWLQJLQMXULHVGHVFULEHGKHUHLQ

               (YHQVWDU $ )RUEDFK KDV DOVR LQFXUUHG WKH FRVWV DQG H[SHQVHV UHODWHG WR

    WKHPHGLFDOFDUHWUHDWPHQWPHGLFDWLRQVDQGKRVSLWDOL]DWLRQWRZKLFK:HVOH\)RUEDFK

    ZDVVXEMHFWHGIRUWKHSK\VLFDOLQMXULHVKHVXIIHUHGDVDSUR[LPDWHUHVXOWRIKLVXVHRIWKH

    'HIHQGDQWV $)))V (YHQVWDU $ )RUEDFK ZLOO FRQWLQXH WR LQFXU WKH IXWXUH FRVWV DQG

    H[SHQVHV UHODWHG WR WKH FDUH WUHDWPHQW PHGLFDWLRQV DQG KRVSLWDOL]DWLRQ RI :HVOH\

    )RUEDFKGXHWRKLVLQMXULHVIURPH[SRVXUHWR'HIHQGDQWV¶KD]DUGRXV$)))V

               (YHQVWDU$)RUEDFKKDVVXIIHUHGORVVRIFRQVRUWLXPDVGHVFULEHGKHUHLQ

    LQFOXGLQJ WKH SDVW SUHVHQW DQG IXWXUH ORVV RI KHU KXVEDQG V FRPSDQLRQVKLS VHUYLFHV

    VRFLHW\ DQG WKH DELOLW\ RI :HVOH\ )RUEDFK WR SURYLGH (YHQVWDU $ )RUEDFK ZLWK WKH

    EHQHILWV RI PDUULDJH DOO RI ZKLFK KDV UHVXOWHG LQ KHU SDLQ VXIIHULQJ DQG PHQWDO DQG

    HPRWLRQDOGLVWUHVVDQGZRUU\

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                                    RULE 26.2 TIER ALLEGATION

            'XH WR 3ODLQWLIIV¶ H[WHQVLYH PHGLFDO ELOOV RQJRLQJ WUHDWPHQW DQG ORVVHV

     3ODLQWLIIVDUHHQWLWOHGWRGDPDJHVDWD7LHUOHYHOZLWKLQWKHFULWHULDRI5XOH F  

            WHEREFORE3ODLQWLIIV:HVOH\DQG(YHQVWDU$)RUEDFKKHUHE\UHTXHVWWKDW

     WKH&RXUWHQWHUMXGJPHQWDJDLQVWDOO'HIHQGDQWVDVIROORZV

            D    )RUJHQHUDOFRQVHTXHQWLDOVSHFLDODQGFRPSHQVDWRU\GDPDJHVLQFOXGLQJ

     EXWQRWOLPLWHGWRSDLQDQGVXIIHULQJPHQWDODQJXLVKORVWZDJHVORVWIXWXUHLQFRPHDQG

     ORVVRIFRQVRUWLXP

            E    )RU3ODLQWLIIV¶FRVWVDQGRWKHUH[SHQVHVLQFXUUHGLQWKLVDFWLRQDQG

           F    6XFKRWKHUDQGIXUWKHUUHOLHIDVWKH&RXUWGHHPVMXVW

           WHEREFORE3ODLQWLIIV:HVOH\DQG(YHQVWDU$)RUEDFKKHUHE\UHTXHVWWKDW

    WKH&RXUWDGGLWLRQDOO\HQWHUMXGJPHQWDJDLQVWWKH0DQXIDFWXUHU'HIHQGDQWVDVIROORZV

           D    )RUSXQLWLYHGDPDJHV

           '$7('WKLVWKGD\RI0D\

                                               BEUS GILBERT MCGRODER PLLC
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                                               
                                                  %\/s/ Patrick J. McGroder III 
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                                                     3DWULFN-0F*URGHU,9
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                                               FISHMAN HAYGOOD LLP
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                                                  'DQLHOOH7HXWRQLFR

                                                   Attorneys for Plaintiffs

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  ORIGINALRIWKHIRUHJRLQJ
      HILOHGYLD7XUER&RXUWWKLVWK
 
      GD\RI-XO\ZLWK
    
      &OHUNRIWKH&RXUW
 
      &RFRQLQR&RXQW\6XSHULRU&RXUW
    
      COPYPDLOHGHPDLOHG
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      WKLVVDPHGDWHWR
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   S#EHXVJLOEHUWFRP
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      Attorneys for Plaintiff
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 6W&KDUOHV$YH)ORRU
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      NPLOOHU#ILVKPDQKD\JRRGFRP
 MEXUJH#ILVKPDQKD\JRRGFRP
 GWHXWRQLFR#ILVKPDQK\DJRRGFRP
      Co-Counsel for Plaintiff
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    %\    /s/ LaWanda Brice
        /D:DQGD%ULFH
            $Q(PSOR\HHRI5HVQLFN /RXLV3&
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          DATEDWKLVWKGD\RI-XO\
                                                        RESNICK & LOUIS, P.C.
                                           %\        /s/ Sharon A. Briggs
                                                          6KDURQ$%ULJJV(VT
                                                 (,QGLDQ%HQG5RDG
                                                        6FRWWVGDOH$UL]RQD
                                                          Attorney for Defendant Matlick Enterprises,
                                                        Inc.
 
      ORIGINALRIWKHIRUHJRLQJ
  HILOHGYLD7XUER&RXUWWKLVWK
  GD\RI-XO\ZLWK
      
   &OHUNRIWKH&RXUW
   &RFRQLQR&RXQW\6XSHULRU&RXUW
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   COPYPDLOHGHPDLOHG
      WKLVVDPHGDWHWR
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   3DWULFN-0F*URGHU,,,(VT
      %(86*,/%(570F*52'(53//&
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      S#EHXVJLOEHUWFRP
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      SMPLY#EHXVJLOEHUWFRP
   Attorneys for Plaintiff
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      .HUU\0LOOHU(VT
   ),6+0$1+$<*22'//3
      6W&KDUOHV$YH)ORRU
   1HZ2UOHDQV/$
   NPLOOHU#ILVKPDQKD\JRRGFRP
      MEXUJH#ILVKPDQKD\JRRGFRP
   GWHXWRQLFR#ILVKPDQK\DJRRGFRP
   Co-Counsel for Plaintiff
 %\    /s/ LaWanda Brice
        /D:DQGD%ULFH
            $Q(PSOR\HHRI5HVQLFN /RXLV3&
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     FRQMXQFWLRQZLWKRULQSODFHRIZDWHU´DQG³LQVXODWHSUHPLVHV´2QWKHVHEDVHV3HULPHWHU
     GHQLHVWKHDOOHJDWLRQV
                 5HVSRQGLQJWRWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
     3HULPHWHUKDVQRNQRZOHGJHRIZKHQ$)))ZDVLQWURGXFHGLQWKHVWKHFRPSRVLWLRQ
     RI$)))LQWKHVRUWKHXVHRI$)))WKDWRFFXUUHGDSSUR[LPDWHO\ILIW\\HDUVEHIRUHLW

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      HQWHUHGWKH$)))PDUNHW3HULPHWHU DGPLWVRQO\WKDW$)))E\GHILQLWLRQLQFOXGHVRQHRU
      PRUHIOXRURVXUIDFWDQWVDQGWKDWIOXRURVXUIDFWDQWVDUHSHU RUSRO\IOXRURDON\OVXEVWDQFHV
      7KHUHPDLQLQJDOOHJDWLRQVLQWKLVSDUDJUDSKDUHYDJXHDQGDPELJXRXVDVWRZKDWLVPHDQW
      E\ ³WKH SULPDU\ ILUHILJKWLQJ IRDP´ DQG ³KLJKO\ IOXRULQDWHG V\QWKHWLFDO FKHPLFDO
      FRPSRXQGV´2QWKHVHEDVHV3HULPHWHUGHQLHVDOOUHPDLQLQJDOOHJDWLRQV
                  5HVSRQGLQJWR3DUDJUDSK3HULPHWHUKDVQRNQRZOHGJHRIWKHXVHRI$)))
      ³IRU GHFDGHV´ EHIRUH LW HQWHUHG WKH $))) PDUNHW 3HULPHWHU DGPLWV RQO\ WKDW $))) E\
      GHILQLWLRQ LQFOXGHV RQH RU PRUH IOXRURVXUIDFWDQWV DQG WKDW IOXRURVXUIDFWDQWV DUH SHU RU
      SRO\IOXRURDON\O VXEVWDQFHV DQG WKDW WKH IOXRURVXUIDFWDQWV XVHGLQ 3HULPHWHU¶V $)))V DUH
     PDQPDGH :LWK UHVSHFW WR WKH UHPDLQLQJ DOOHJDWLRQV 3HULPHWHU GHQLHV NQRZOHGJH RU
     LQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGWKHUHLQ
     DQGWKHUHIRUHGHQLHVWKHVDPH
                 3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWK RIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                 3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWKH
     WUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                 3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWKH
     WUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                 5HVSRQGLQJ WR 3DUDJUDSK  3HULPHWHU KDV QR NQRZOHGJH RI ZKDW ³3)$6
     PDQXIDFWXUHUV´GLGLQWKHVZKLFKZDVDSSUR[LPDWHO\ILIW\\HDUVEHIRUHLWHQWHUHGWKH
     $)))PDUNHW3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH

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                   3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
      WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
      WKHVDPH
                   3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
      WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
      WKHVDPH
                   3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
      WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
      WKHVDPH
                  3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                  3HULPHWHUREMHFWVWKDW WKHWHUP³6KRUW&KDLQ3)$6´LVYDJXHDQGDPELJXRXV
     3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKH
     DOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH7R
     WKHH[WHQWWKDWWKHDOOHJDWLRQVDUHGLUHFWHGDWRWKHUGHIHQGDQWV3HULPHWHUODFNVNQRZOHGJH
     RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DERXW WKH WUXWK RI WKH DOOHJDWLRQV DQG RQ WKDW
     EDVLVGHQLHVWKHP
                  3HULPHWHUREMHFWVWKDWWKHWHUP³6KRUW&KDLQ3)$6´LVYDJXHDQGDPELJXRXV
     3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKH
     DOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH7R
     WKHH[WHQWWKDWWKHDOOHJDWLRQVDUHGLUHFWHGDWRWKHUGHIHQGDQWV3HULPHWHUODFNVNQRZOHGJH
     RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DERXW WKH WUXWK RI WKH DOOHJDWLRQV DQG RQ WKDW
     EDVLVGHQLHVWKHP
                  3HULPHWHUREMHFWVWKDWWKHWHUP³6KRUW&KDLQ3)$6´LVYDJXHDQGDPELJXRXV
     3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKH

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      DOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH7R
      WKHH[WHQWWKDWWKHDOOHJDWLRQVDUHGLUHFWHGDWRWKHUGHIHQGDQWV3HULPHWHUODFNVNQRZOHGJH
      RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DERXW WKH WUXWK RI WKH DOOHJDWLRQV DQG RQ WKDW
      EDVLVGHQLHVWKHP
                   3HULPHWHU GHQLHV WKH DOOHJDWLRQV LQ 3DUDJUDSK  RI WKH &RPSODLQW DV WR
      3HULPHWHU $V WR WKH RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ
      VXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH
      &RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                   3HULPHWHU GHQLHV WKH DOOHJDWLRQV LQ 3DUDJUDSK  RI WKH &RPSODLQW DV WR
     3HULPHWHU $V WR WKH RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ
     VXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH
     &RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                  3HULPHWHU GHQLHV WKH DOOHJDWLRQV LQ 3DUDJUDSK  RI WKH &RPSODLQW DV WR
     3HULPHWHU $V WR WKH RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ
     VXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH
     &RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                  3HULPHWHU GHQLHV WKH DOOHJDWLRQV LQ 3DUDJUDSK  RI WKH &RPSODLQW DV WR
     3HULPHWHU $V WR WKH RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ
     VXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH
     &RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                  3HULPHWHU GHQLHV WKH DOOHJDWLRQV LQ 3DUDJUDSK  RI WKH &RPSODLQW DV WR
     3HULPHWHU $V WR WKH RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ
     VXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH
     &RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                  3HULPHWHU DGPLWV WKDW LW KDV PDQXIDFWXUHG DQG VROG $))) SURGXFWV EXW
     3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKH

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      UHPDLQLQJDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKH
      VDPH7RWKHH[WHQWWKDWWKHDOOHJDWLRQVDUHGLUHFWHGDWRWKHUGHIHQGDQWV3HULPHWHUODFNV
      NQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKHDOOHJDWLRQVDQG
      RQWKDWEDVLVGHQLHVWKHVDPH
                 3HULPHWHU GHQLHV WKH DOOHJDWLRQV LQ 3DUDJUDSK  RI WKH &RPSODLQW DV WR
      3HULPHWHU $V WR WKH RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ
      VXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH
      &RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                 3HULPHWHUGHQLHVWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
                3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                3HULPHWHUGHQLHVWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
                3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHI DVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
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                 3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
      WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
      WKHVDPH
                 3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
      WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
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                 3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
      WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
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                3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                                    FIRST CLAIM FOR RELIEF
           (Strict Products Liability-Design Defect and Failure to Warn against All
                                              Defendants)
                3HULPHWHU UHIHUV WR DQG LQFRUSRUDWHV KHUH LWV UHVSRQVHV WR 3DUDJUDSKV 
     WKURXJKRIWKH&RPSODLQWDVLIIXOO\VHWIRUWKKHUHLQ
                3HULPHWHU GHQLHV WKH DOOHJDWLRQV LQ 3DUDJUDSK  RI WKH &RPSODLQW DV WR
     3HULPHWHU $V WR WKH RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ
     VXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH
     &RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                7RWKHH[WHQWWKDWWKHDOOHJDWLRQVLQ3DUDJUDSKDUHGLUHFWHGDW3HULPHWHU
     3HULPHWHU DGPLWV RQO\ WKDW LW VHOOV $))) LQ WKH RUGLQDU\ FRXUVH RI LWV EXVLQHVV $OO

                                                      
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      UHPDLQLQJDOOHJDWLRQVDUHGHQLHG$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHVNQRZOHGJH
      RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV FRQWDLQHG LQ
      3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                   7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
      RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW
      DQ\ DQVZHU LV UHTXLUHG 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D
      EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV FRQWDLQHG LQ 3DUDJUDSK  RI WKH &RPSODLQWDQG
      WKHUHIRUHGHQLHVWKHVDPH
                   7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW
     DQ\ DQVZHU LV UHTXLUHG 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D
     EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV FRQWDLQHG LQ 3DUDJUDSK  RI WKH &RPSODLQWDQG
     WKHUHIRUHGHQLHVWKHVDPH
                  7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW
     DQ\ DQVZHU LV UHTXLUHG 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D
     EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQVFRQWDLQHG LQ 3DUDJUDSK  RI WKH &RPSODLQWDQG
     WKHUHIRUHGHQLHVWKHVDPH
                  7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW
     DQ\DQVZHULVUHTXLUHGDQGWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHUWKRVHDOOHJDWLRQVDUH
     GHQLHG$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQW
     WRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
     DQGWKHUHIRUHGHQLHVWKHVDPH
                  7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW

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      DQ\DQVZHULVUHTXLUHGDQGWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHUWKRVHDOOHJDWLRQVDUH
      GHQLHG$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQW
      WRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
      DQGWKHUHIRUHGHQLHVWKHVDPH
                  3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
      WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
      WKHVDPH
                  3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
      WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                 7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG
                                   SECOND CLAIM FOR RELIEF
                  (Negligent Failure to Warn Against Manufacturing Defendants)
                 3HULPHWHU UHIHUV WR DQG LQFRUSRUDWHV KHUH LWV UHVSRQVHV WR 3DUDJUDSKV 
     WKURXJKRIWKH&RPSODLQWDVLIIXOO\VHWIRUWKKHUHLQ
                 7RWKHH[WHQWWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHU3HULPHWHUGHQLHVWKH
     DOOHJDWLRQVLQ3DUDJUDSKRIWKH&RPSODLQW$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHV
     NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV
     FRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW DQGWKHUHIRUHGHQLHVWKHVDPH
                 7RWKHH[WHQWWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHU3HULPHWHUGHQLHVWKH
     DOOHJDWLRQVLQ3DUDJUDSKRIWKH&RPSODLQW$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHV
     NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV
     FRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                 7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW

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      DQ\DQVZHULVUHTXLUHGDQGWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHUWKRVHDOOHJDWLRQVDUH
      GHQLHG$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQW
      WRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
      DQGWKHUHIRUHGHQLHVWKHVDPH
                  7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
      RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW
      DQ\DQVZHULVUHTXLUHGDQGWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHUWKRVHDOOHJDWLRQVDUH
      GHQLHG$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQW
      WRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
     DQGWKHUHIRUHGHQLHVWKHVDPH
                                    THIRD CLAIM FOR RELIEF
                  (Negligent Plan or Design of Product Against All Defendants)
                 3HULPHWHU UHIHUV WR DQG LQFRUSRUDWHV KHUH LWV UHVSRQVHV WR 3DUDJUDSKV 
     WKURXJKRIWKH&RPSODLQWDVLIIXOO\VHWIRUWKKHUHLQ
                 7RWKHH[WHQWWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHU3HULPHWHUGHQLHVWKH
     DOOHJDWLRQVLQ3DUDJUDSKRIWKH&RPSODLQW$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHV
     NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV
     FRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                 7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW
     WKH DOOHJDWLRQV DUH GLUHFWHG DW 3HULPHWHU WKRVH DOOHJDWLRQV DUH GHQLHG $V WR WKH RWKHU
     GHIHQGDQWV3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKH
     WUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                 7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW

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      DQ\DQVZHULVUHTXLUHGDQGWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHUWKRVHDOOHJDWLRQVDUH
      GHQLHG$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQW
      WRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
      DQGWKHUHIRUHGHQLHVWKHVDPH
                                     FOURTH CLAIM FOR RELIEF
                        (Punitive Damages against Chemguard and Perimeter)
                  3HULPHWHU UHIHUV WR DQG LQFRUSRUDWHV KHUH LWV UHVSRQVHV WR 3DUDJUDSKV 
      WKURXJKRIWKH&RPSODLQWDVLIIXOO\VHWIRUWKKHUHLQ
                  3HULPHWHUGHQLHVWKHDOOHJDWLRQWKDWLWEHJDQ³PDQXIDFWXULQJPDUNHWLQJDQG
     VHOOLQJ $)))V PDQ\ \HDUV DJR´ 3HULPHWHU REMHFWV WKDW WKH SKUDVH ³PDQ\ \HDUV DJR´ LV
     YDJXHDQGDPELJXRXVDQGRQWKDWEDVLV3HULPHWHUGHQLHVWKHDOOHJDWLRQVWRWKHH[WHQWWKH
     DOOHJDWLRQV DUH GLUHFWHG DW 3HULPHWHU 7R WKH H[WHQW WKH DOOHJDWLRQV DUH GLUHFWHG DW RWKHU
     GHIHQGDQW3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKH
     WUXWKRIWKHUHPDLQLQJDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUH
     GHQLHVWKHVDPH
                 3HULPHWHU REMHFWV WKDW WKH SKUDVH ³RYHU WKH HQVXLQJ \HDUV´ LV YDJXH DQG
     DPELJXRXV7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQVRI
     ODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQWDQ\
     DQVZHU LV UHTXLUHG DQG WKH DOOHJDWLRQV DUH GLUHFWHG DW 3HULPHWHU WKRVH DOOHJDWLRQV DUH
     GHQLHG$VWRWKHRWKHUGHIHQGDQW3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWR
     IRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
     DQGWKHUHIRUHGHQLHVWKHVDPH
                 3HULPHWHUREMHFWVWKDWWKHSKUDVHV³YDULRXVODZV´DQG³YDULRXVJRYHUQPHQW
     DJHQFLHV´ DUH YDJXH DQG DPELJXRXV 7KH DOOHJDWLRQV FRQWDLQHG LQ 3DUDJUDSK  RI WKH
     &RPSODLQWDUHFRQFOXVLRQVRIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHU
     LV UHTXLUHG 7R WKH H[WHQW DQ\ DQVZHU LV UHTXLUHG DQG WKH DOOHJDWLRQV DUH GLUHFWHG DW

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      3HULPHWHU WKRVH DOOHJDWLRQV DUH GHQLHG $V WR WKH RWKHU GHIHQGDQW 3HULPHWHU GHQLHV
      NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV
      FRQWDLQHGLQ3DUDJUDSK RIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                  7RWKHH[WHQWWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHU3HULPHWHUGHQLHVWKH
      DOOHJDWLRQVLQ3DUDJUDSKRIWKH&RPSODLQW$VWRWKHRWKHUGHIHQGDQW3HULPHWHUGHQLHV
      NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV
      FRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                  7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
      RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQR DQVZHULVUHTXLUHG7RWKHH[WHQW
     DQ\ DQVZHU LV UHTXLUHG DQG WKH DOOHJDWLRQV DUH GLUHFWHG DW 3HULPHWHU 3HULPHWHU GHQLHV
     NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV
     FRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQG WKHUHIRUHGHQLHVWKHVDPH$VWRWKHRWKHU
     GHIHQGDQW3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKH
     WUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH
                 7RWKHH[WHQWWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHU3HULPHWHUGHQLHVWKH
     DOOHJDWLRQVLQ3DUDJUDSKRIWKH&RPSODLQW$VWRWKHRWKHUGHIHQGDQW3HULPHWHUGHQLHV
     NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV
     FRQWDLQHGLQ3DUDJUDSK RIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                                     FIFTH CLAIM FOR RELIEF
                                          (Loss of Consortium)
                 3HULPHWHU UHIHUV WR DQG LQFRUSRUDWHV KHUH LWV UHVSRQVHV WR 3DUDJUDSKV 
     WKURXJKRIWKH&RPSODLQWDVLIIXOO\VHWIRUWKKHUHLQ
                 3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWR
     WKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHV
     WKHVDPH

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                  7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
      RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW
      DQ\DQVZHULVUHTXLUHGDQGWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHUWKRVHDOOHJDWLRQVDUH
      GHQLHG$VWRWKHRWKHUGHIHQGDQWV3HULPHWHUGHQLHVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQW
      WRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQW
      DQGWKHUHIRUHGHQLHVWKHVDPH
                  7RWKHH[WHQWWKHDOOHJDWLRQVLQ3DUDJUDSKRIWKH&RPSODLQWDUHGLUHFWHG
      3HULPHWHU WKRVH DOOHJDWLRQV DUH GHQLHG $V WR WKH RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV
      NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV
     FRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDQGWKHUHIRUHGHQLHVWKHVDPH
                 7KHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKRIWKH&RPSODLQWDUHFRQFOXVLRQV
     RIODZRUPL[HGFRQFOXVLRQVRIODZDQGIDFWWRZKLFKQRDQVZHULVUHTXLUHG7RWKHH[WHQW
     DQ\ DQVZHU LV UHTXLUHG 3HULPHWHU GHQLHV NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WR IRUP D
     EHOLHI DV WR WKH WUXWK RI WKH DOOHJDWLRQV FRQWDLQHG LQ 3DUDJUDSK  RI WKH &RPSODLQWDQG
     WKHUHIRUHGHQLHVWKHVDPH
                                        Rule 26.2 Tier Allegation
                 5HVSRQGLQJWR3ODLQWLIIV¶5XOH7LHU$OOHJDWLRQV3ODLQWLIIV¶DOOHJDWLRQV
     VWDWHOHJDOFRQFOXVLRQVWRZKLFKQRUHVSRQVHLVUHTXLUHG7RWKHH[WHQWDQ\IXUWKHUUHVSRQVH
     LVUHTXLUHGDQGWKHDOOHJDWLRQVDUHGLUHFWHGDW3HULPHWHUWKRVHDOOHJDWLRQVDUHGHQLHG7R
     WKH H[WHQW WKH DOOHJDWLRQV DUH GLUHFW DW RWKHU GHIHQGDQWV 3HULPHWHU GHQLHV NQRZOHGJH RU
     LQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDVWRWKHWUXWKRIWKHDOOHJDWLRQVDQGWKHUHIRUHGHQLHV
     WKHVDPH
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                                              Prayer for Relief
                  3HULPHWHUGHQLHVWKDW3ODLQWLIIVDUHHQWLWOHGWRWKHUHOLHIVHWIRUWKLQWKH3UD\HU
      IRU 5HOLHI RU RWKHUZLVH HQWLWOHG WR DQ\ UHOLHI ZKDWVRHYHU DQG GHQLHV DQ\ IDFW QRW
      VSHFLILFDOO\DQGXQFRQGLWLRQDOO\DGPLWWHGKHUHLQ
                                               General Denial
                  3HULPHWHU GHQLHV DOO DOOHJDWLRQV LQ WKH &RPSODLQW WKDW DUH QRW H[SUHVVO\
      DGPLWWHG KHUHLQ ,Q SDUWLFXODU WKH &RPSODLQW URXWLQHO\ UHIHUV ZLWKRXW GLIIHUHQWLDWLRQ WR
      ³'HIHQGDQWV´ ³0DQXIDFWXUHU 'HIHQGDQWV´ RU ³'LVWULEXWRU 'HIHQGDQW´ ZKLFK
      IRUPXODWLRQVLQFOXGHHQWLWLHVRWKHUWKDQ3HULPHWHU8QOHVVDQDOOHJDWLRQDVWRWKRVHRWKHU
     GHIHQGDQWV LV VSHFLILFDOO\ DGPLWWHG KHUHLQ 3HULPHWHU ODFNV NQRZOHGJH RU LQIRUPDWLRQ
     VXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIDQ\PDWWHUUHJDUGLQJWKRVHGHIHQGDQWVDQGRQ
     WKDWEDVLVGHQ\WKHP$GGLWLRQDOO\WRWKHH[WHQWWKDWDQ\KHDGLQJVRUVXEKHDGLQJVLQWKH
     &RPSODLQWDUHLQWHQGHGDVDOOHJDWLRQVWKRVHDOOHJDWLRQVDUHGHQLHG
                 7KLV $QVZHU LV EDVHG RQ 3HULPHWHU¶V LQYHVWLJDWLRQ WR GDWH DQG 3HULPHWHU
     UHVHUYHVWKHULJKWWRVXSSOHPHQWRUDPHQGWKLV$QVZHUGXULQJWKHFRXUVHRIWKHOLWLJDWLRQ
     DVQHZLQIRUPDWLRQLVOHDUQHG

                                       AFFIRMATIVE DEFENSES

              3HULPHWHUDVVHUWVWKHIROORZLQJGHIHQVHVZLWKRXWDVVXPLQJWKHEXUGHQRISURRIRU

       SURGXFWLRQDVWRDQ\LVVXHRUHOHPHQW WKDWRWKHUZLVHUHVWVZLWK3ODLQWLIIV%\OLVWLQJWKHVH

       PDWWHUVDVGHIHQVHV3HULPHWHUGRHVQRWDGPLWRUDFNQRZOHGJHWKDWWKH\EHDUWKHEXUGHQRI

       SURRIDQGRUSURGXFWLRQZLWKUHVSHFWWRDQ\RIWKHP7KLVVWDWHPHQWRIGHIHQVHVLVEDVHG

       RQ3HULPHWHU¶VLQYHVWLJDWLRQWRGDWHDQG3HULPHWHUUHVHUYHVDOOULJKWVWR L VXSSOHPHQWRU

       DPHQG WKHVH GHIHQVHV GXULQJ WKH FRXUVH RI OLWLJDWLRQ DV QHZ LQIRUPDWLRQ LV OHDUQHG LL 

       DVVHUWDQ\DQGDOORWKHUGHIHQVHVQRZDYDLODEOHRUWKDWPD\EHFRPHDYDLODEOHGXULQJWKH

       FRXUVH RIGLVFRYHU\RUWULDO LLL UHO\RQDQ\DQGDOOGHIHQVHVDQGSUHVXPSWLRQVVHWIRUWKLQ


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      RUDULVLQJIURPDQ\UXOHRIODZRUVWDWXWHRIDQ\VWDWHZKRVHVXEVWDQWLYHODZPLJKWFRQWURO
      WKH UHOHYDQW DFWLRQ DQGRU LY  UHO\ XSRQ DQ\RWKHU GHIHQVHV VHW IRUWK LQ DQ\ $QVZHU RU
      GLVFORVXUH RI DIILUPDWLYH GHIHQVHV RI DQ\ 'HIHQGDQW LQ WKLV DFWLRQ $OO RI WKH IROORZLQJ
      GHIHQVHV DUH SOHG LQ WKH DOWHUQDWLYH DQG QRQH FRQVWLWXWHV DQ DGPLVVLRQWKDW 3HULPHWHU LV
      OLDEOHWR3ODLQWLIIVWKDW3ODLQWLIIVKDYHEHHQRUZLOOEHLQMXUHGRUGDPDJHGLQDQ\ZD\RU
      WKDW3ODLQWLIIVDUHHQWLWOHGWRDQ\UHOLHIZKDWVRHYHU
                   7KH &RPSODLQW DQG HDFK FDXVH RI DFWLRQ RU FRXQW DOOHJHG WKHUHLQ IDLOV WR
      VWDWH IDFWV VXIILFLHQW WR FRQVWLWXWH D FODLP XSRQ ZKLFK UHOLHI PD\ EH JUDQWHG DJDLQVW
      'HIHQGDQW
                  3ODLQWLIIV¶FODLPVDUHEDUUHGRUOLPLWHGIRUODFNRIVWDQGLQJ
                  7KH&RPSODLQWDQGHDFKDOOHJHGFODLPFRQWDLQHGWKHUHLQLVEDUUHGLQZKROH
     RULQSDUWE\WKHDSSOLFDEOHVWDWXWHVRIOLPLWDWLRQVRUVWDWXWHRIUHSRVH See, e.g.$UL]5HY
     6WDW
                  7KH&RPSODLQWDQGHDFKFDXVHRIDFWLRQRUFRXQWDOOHJHGWKHUHLQIDLOVWRMRLQ
     QHFHVVDU\SDUWLHV
                  7KH&RPSODLQWDQGHDFKDOOHJHGFODLPFRQWDLQHGWKHUHLQLVEDUUHGLQZKROH
     RU LQ SDUW EHFDXVH 'HIHQGDQW LV HQWLWOHG WR LPPXQLW\ IURP VXLW XQGHU WKH JRYHUQPHQW
     FRQWUDFWRUGHIHQVHSee Boyle v. United Technologies Corp.86  
                  7KH&RPSODLQWDQGHDFKDOOHJHGFODLPFRQWDLQHGWKHUHLQLVEDUUHGLQZKROH
     RULQSDUWE\WKHGRFWULQHRIODFKHV
                  3ODLQWLIIV¶FODLPVDUHQRWULSHDQGRUKDYHEHHQPRRWHG
                  3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWWRWKHH[WHQWWKH\
     KDYHIDLOHGWRH[KDXVWDGPLQLVWUDWLYHUHPHGLHV
                  3ODLQWLIIVPD\EHEDUUHGE\WKHGRFWULQHRIXQFOHDQKDQGVIURPDOOIRUPVRI
     UHOLHIVRXJKWLQWKH&RPSODLQW


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                  3ODLQWLIIVPD\EHEDUUHGE\WKHGRFWULQHVRIHVWRSSHODQGRUZDLYHUIURPDOO
      IRUPVRIUHOLHIVRXJKWLQWKH&RPSODLQW
                  3ODLQWLIIV PD\ EH EDUUHG E\ WKH GRFWULQHV RI UHV MXGLFDWD DQG FROODWHUDO
      HVWRSSHOIURPDOOIRUPVRIUHOLHIVRXJKWLQWKH&RPSODLQW
                  3ODLQWLIIV¶ FODLPV DUH EDUUHG LQ ZKROH RU LQ SDUW XQGHU WKH EXON VXSSOLHU
      FRPSRQHQW SDUW VXSSOLHU VRSKLVWLFDWHGSXUFKDVHU VRSKLVWLFDWHGXVHU VRSKLVWLFDWHG
      LQWHUPHGLDU\ DQGRU NQRZOHGJHDEOHXVHU GRFWULQHV RU RWKHU VLPLODU RU UHODWHG GRFWULQHV
      DYDLODEOH XQGHUDSSOLFDEOHODZ
                  3ODLQWLIIV¶FODLPVDUHEDUUHGLQZKROHRULQSDUWE\WKH³OHDUQHGLQWHUPHGLDU\´
     GRFWULQH
                 $Q\LQMXULHVDQGRUGDPDJHVVXVWDLQHGE\3ODLQWLIIVPD\KDYHEHHQFDXVHG
     RU FRQWULEXWHG WR E\ WKH QHJOLJHQFH RU DFWXDO FRQGXFW RI 3ODLQWLIIV DQGRU RWKHU SHUVRQV
     ILUPVFRUSRUDWLRQVRUHQWLWLHVRYHUZKRP'HIHQGDQWKDGQRFRQWURORUULJKWRIFRQWURODQG
     IRUZKRP'HIHQGDQWLVQRWUHVSRQVLEOH
                 $Q\ LQMXULHV DQGRU GDPDJHV VXVWDLQHG E\ 3ODLQWLIIV DUH EDUUHG E\ WKH
     GRFWULQHVRILQWHUYHQLQJFDXVHDQGRUVXSHUVHGLQJFDXVH
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGEHFDXVHWKH\GLGQRWXVH'HIHQGDQW¶V
     SURGXFWV
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWWRWKHH[WHQWWKDW
     'HIHQGDQW¶VSURGXFWVZHUHXQIRUHVHHDEO\PLVXVHGRUDOWHUHG
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWEHFDXVH3ODLQWLIIV
     RURWKHUWKLUGSDUWLHVIDLOHGWRIROORZSURGXFWGLUHFWLRQVVSHFLILFDWLRQVPDWHULDOVDIHW\GDWD
     VKHHWVDQGRUODEHOLQJUHTXLUHPHQWV$UL]5HY6WDW  
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWEHFDXVH3ODLQWLIIV
     RURWKHUWKLUGSDUWLHVLPSURSHUO\RULOOHJDOO\GLVSRVHGRI'HIHQGDQWV¶SURGXFWV
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                  3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWE\WKHGRFWULQH
      RIHOHFWLRQRIUHPHGLHV
                  3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWXQGHUDSSOLFDEOH
      FRPPRQODZRUVWDWXWRU\GRFWULQHVLQFOXGLQJEXWQRWOLPLWHGWRDYRLGDEOHFRQVHTXHQFHV
      YROXQWDU\H[SRVXUHDVVXPSWLRQRIULVNODVWFOHDUFKDQFHDQGRSHQDQGREYLRXVULVN
                  3ODLQWLIIV¶ FODLPV DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ SDUW EHFDXVH
      'HIHQGDQW XVHG SURSHU PHWKRGVLQ GHVLJQLQJ WHVWLQJ DQG PDQXIDFWXULQJLWVSURGXFWVLQ
      FRQIRUPLW\ ZLWK L  IHGHUDO DQG VWDWH UHJXODWLRQV VWDQGDUGV VSHFLILFDWLRQV DQG ODZV LQ
      HIIHFW LL DYDLODEOHNQRZOHGJHDQGUHVHDUFKRIWKHVFLHQWLILFDQGLQGXVWULDOFRPPXQLWLHV
     LLL  JHQHUDOO\ UHFRJQL]HG DQG SUHYDLOLQJ LQGXVWU\ VWDQGDUGV DQG LY  VWDWH RI WKH DUW LQ
     H[LVWHQFH DW WKH WLPH WKH GHVLJQ ZDV SUHSDUHG DQG WKH SURGXFWV ZHUH PDQXIDFWXUHG DQG
     WHVWHG
                 3ODLQWLIIV¶ FODLPV DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ SDUW EHFDXVH DQ\
     DOOHJHGOHYHOVRIFRQWDPLQDWLRQGLGQRWH[FHHGDQ\DSSOLFDEOHODZVRUELQGLQJUHJXODWRU\
     VWDQGDUGVDWWKHUHOHYDQWWLPHV
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWEHFDXVHIHGHUDO
     VWDWH DQGRU ORFDO DXWKRULWLHV DXWKRUL]HG UDWLILHG RU ZHUH DZDUH RI DQG DFTXLHVFHG LQ
     DFWLRQVE\'HIHQGDQWWKDWDUHWKHVXEMHFWRI3ODLQWLIIV¶FODLPV'HIHQGDQWLVQRWUHVSRQVLEOH
     RUOLDEOHIRUDQ\DFWVRURPLVVLRQVXQGHUWDNHQE\RUDWWKHGLUHFWLRQRIDQ\JRYHUQPHQWDO
     DXWKRULW\RUDJHQF\
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWE\WKHGRFWULQH
     RISULPDU\MXULVGLFWLRQ
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWEHFDXVH3HULPHWHU
     QHLWKHU NQHZ QRU VKRXOG KDYH NQRZQ WKDW DQ\ RI WKHLU $))) SURGXFWV SRVHG WKH ULVNV
     DOOHJHGE\3ODLQWLIIVE\YLUWXHRIWKHSUHYDLOLQJVWDWHRIWKHPHGLFDOVFLHQWLILFWHFKQLFDO


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      DQGRU LQGXVWULDO NQRZOHGJH DYDLODEOH WR 3HULPHWHU DW DOO WLPHV UHOHYDQW WR WKH FODLPV RU
      FDXVHVRIDFWLRQDVVHUWHGE\3ODLQWLIIV
                  3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWXQGHUWKHGRFWULQH
      RI)HGHUDO3UHHPSWLRQLQFOXGLQJZLWKRXWOLPLWDWLRQH[SUHVVSUHHPSWLRQLPSOLHGFRQIOLFW
      SUHHPSWLRQ DQG ILHOG SUHHPSWLRQ SXUVXDQW WR DQ\ DSSOLFDEOH VWDWXWHV UHJXODWLRQV
      JXLGDQFHGRFXPHQWVQRWLFHVPLOLWDU\VSHFLILFDWLRQDQGSROLF\VWDWHPHQWVHQDFWHGDQGRU
      SURPXOJDWHG DQGRU LVVXHG E\ &RQJUHVV IHGHUDO DJHQFLHV RU WKH H[HFXWLYH EUDQFK
      LQFOXGLQJZLWKRXWOLPLWDWLRQWRWKHH[WHQW3ODLQWLIIV¶FODLPVFRQVWLWXWHDQLPSHUPLVVLEOH
      FKDOOHQJHWRDUHVSRQVHRUUHPHGLDWLRQDFWLRQXQGHU&(5&/$86& K 
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWWRWKHH[WHQWWKDW
     DQ\ZDUUDQWLHVZHUHGLVFODLPHGDQGRUDUHOLPLWHGE\DSSOLFDEOHSURYLVLRQVRIWKH8&&
                 3ODLQWLIIV¶GDPDJHVLIDQ\ZHUHFDXVHGE\WKHDFWLYHGLUHFWDQGSUR[LPDWH
     QHJOLJHQFHRUDFWXDOFRQGXFWRIHQWLWLHVRUSHUVRQVRWKHUWKDQ'HIHQGDQWDQGLQWKHHYHQW
     WKDW 'HIHQGDQW LV IRXQG WR EH OLDEOH WR 3ODLQWLIIV 'HIHQGDQW ZLOO EH HQWLWOHG WR
     LQGHPQLILFDWLRQFRQWULEXWLRQDQGRUDSSRUWLRQPHQW
                 3HULPHWHUDVVHUWVLWVULJKWVWRDOORFDWLRQRUDSSRUWLRQPHQWRIIDXOWSXUVXDQWWR
     DSSOLFDEOHVWDWHODZDVZHOODVLWVULJKWVWRDSURSRUWLRQDWHUHGXFWLRQRIDQ\GDPDJHVIRXQG
     DJDLQVW3HULPHWHUEDVHGRQWKHQHJOLJHQFHRURWKHUFRQGXFWRIDQ\VHWWOLQJWRUWIHDVRUDQGRU
     UHVSRQVLEOHWKLUGSDUW\DQGRU3ODLQWLIIV
                 3ODLQWLIIV PD\ KDYH IDLOHG RU UHIXVHG WR H[HUFLVH UHDVRQDEOH FDUH DQG
     GLOLJHQFHWRDYRLGORVVDQGPLQLPL]HGDPDJHVDQGWKHUHIRUHPD\QRWUHFRYHUIRUORVVHV
     WKDWFRXOGKDYHEHHQSUHYHQWHGE\UHDVRQDEOHHIIRUWVRQWKHLUSDUWRUE\H[SHQGLWXUHVZKLFK
     PLJKW UHDVRQDEO\ KDYH EHHQ PDGH 5HFRYHU\ LI DQ\ VKRXOG WKHUHIRUH EH UHGXFHG E\
     3ODLQWLIIV¶IDLOXUHWRPLWLJDWHGDPDJHVLIDQ\
                 3ODLQWLIIV¶ &RPSODLQW LV EDUUHG LQ ZKROH RU LQ SDUW E\ WKH GRFWULQHV RI
     DFTXLHVFHQFHUDWLILFDWLRQVHWWOHPHQWRUUHOHDVH

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                  3ODLQWLIIV¶FODLPVPD\EHEDUUHGE\WKHILUHILJKWHUILUHPDQ¶VUXOH
                  3ODLQWLIIV¶FODLPVPD\EHEDUUHGE\WKHSXEOLFGXW\GRFWULQH
                  3ODLQWLIIV¶FODLPVPD\EHEDUUHGE\WKHPXQLFLSDOFRVWUHFRYHU\UXOHRUWKH
      IUHHSXEOLFVHUYLFHVGRFWULQH
                  3ODLQWLIIV¶ FODLPV DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ SDUW EHFDXVH WKH
      SUR[LPDWHFDXVHRIWKHLQFLGHQWJLYLQJULVHWRWKHDFWLRQ ZDVDQDOWHUDWLRQRUPRGLILFDWLRQ
      RI WKH SURGXFW WKDW ZDV QRW UHDVRQDEO\ IRUHVHHDEOH PDGH E\ D SHUVRQ RWKHU WKDQ WKH
      GHIHQGDQW DQG VXEVHTXHQW WR WKH WLPH WKH SURGXFW ZDV ILUVW VROG E\ WKH GHIHQGDQW $UL]
      5HY6WDW  
                 3ODLQWLIIV¶ FODLPV DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ SDUW EHFDXVH WKH
     SUR[LPDWHFDXVHRIWKHLQFLGHQWJLYLQJULVHWRWKHDFWLRQZDVDXVHRUFRQVXPSWLRQRIWKH
     SURGXFW WKDW ZDV IRU D SXUSRVH LQ D PDQQHURU LQ DQ DFWLYLW\ RWKHU WKDQ WKDW ZKLFK ZDV
     UHDVRQDEO\ IRUHVHHDEOH RU ZDV FRQWUDU\ WR DQ\ H[SUHVV DQG DGHTXDWH LQVWUXFWLRQV RU
     ZDUQLQJVDSSHDULQJRQRUDWWDFKHGWRWKHSURGXFWRURQLWVRULJLQDOFRQWDLQHURUZUDSSLQJ
     LIWKHLQWHQGHGFRQVXPHUNQHZRUZLWKWKHH[HUFLVHRIUHDVRQDEOHDQGGLOLJHQWFDUHVKRXOG
     KDYHNQRZQRIVXFKLQVWUXFWLRQVRUZDUQLQJV$UL]5HY6WDW  
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWEHFDXVHWKHUHZDV
     QRWDQDOWHUQDWLYHIHDVLEOHGHVLJQIRUWKHSURGXFWVDWLVVXH
                 3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWGXHWRDODFNRI
     SULYLW\EHWZHHQWKH3ODLQWLIIVDQG3HULPHWHU
                 3ODLQWLII¶VFODLPVIRUSXQLWLYHRUH[HPSODU\GDPDJHVDUHRUPD\EHEDUUHGRU
     UHGXFHGLQZKROHRULQSDUWE\DSSOLFDEOHODZRUVWDWXWHLQFOXGLQJEXWQRWOLPLWHGWR$UL]
     5HY6WDWRULQWKHDOWHUQDWLYHDUHXQFRQVWLWXWLRQDOLQVRIDUDVWKH\YLRODWHWKH
     GXH SURFHVV SURWHFWLRQV DIIRUGHG E\ WKH 8QLWHG 6WDWHV &RQVWLWXWLRQ WKH H[FHVVLYH ILQHV
     FODXVHRIWKH(LJKWK$PHQGPHQWRIWKH8QLWHG6WDWHV&RQVWLWXWLRQWKH)XOO)DLWKDQG&UHGLW
     &ODXVHRIWKH8QLWHG6WDWHV&RQVWLWXWLRQDQGDSSOLFDEOHSURYLVLRQVRIWKH&RQVWLWXWLRQRI

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      $UL]RQD RU WKDW RI DQ\ RWKHU VWDWH ZKRVH ODZV PD\ DSSO\ $Q\ ODZ VWDWXWH RU RWKHU
      DXWKRULW\ SXUSRUWLQJ WR SHUPLW WKH UHFRYHU\ RI SXQLWLYH GDPDJHV LQ WKLV FDVH LV
      XQFRQVWLWXWLRQDOIDFLDOO\DQGDVDSSOLHGWRWKHH[WHQWZLWKRXWOLPLWDWLRQWKDWLW  ODFNV
      FRQVWLWXWLRQDOO\ VXIILFLHQW VWDQGDUGV WR JXLGH DQG UHVWUDLQ WKH MXU\¶V GLVFUHWLRQ LQ
      GHWHUPLQLQJZKHWKHUWRDZDUGSXQLWLYHGDPDJHVDQGRUWKHDPRXQWLIDQ\  LVYRLGIRU
      YDJXHQHVVLQWKDWLWIDLOVWRSURYLGHDGHTXDWHDGYDQFHQRWLFHDVWRZKDWFRQGXFWZLOOUHVXOW
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      RU FRQGXFW WKDW ZDV QRW GLUHFWHG RU GLG QRW SUR[LPDWHO\ FDXVH KDUP WR 3ODLQWLII  
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     UHDVRQDEOHDQGSURSRUWLRQDWHWRWKHDPRXQWRI KDUPLIDQ\WR3ODLQWLIIVDQGWRWKHDPRXQW
     RIFRPSHQVDWRU\GDPDJHVLIDQ\  XQFRQVWLWXWLRQDOO\PD\SHUPLWMXU\FRQVLGHUDWLRQRI
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     VXIILFLHQWVWDQGDUGVWREHDSSOLHGE\WKHWULDOFRXUWLQSRVWYHUGLFWUHYLHZRIDQ\SXQLWLYH
     GDPDJHV DZDUG   ODFNV FRQVWLWXWLRQDOO\ VXIILFLHQW VWDQGDUGV IRU DSSHOODWH UHYLHZ RI
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                                     RESERVATION OF RIGHTS
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      WKH FRXUVH RI WKHVH SURFHHGLQJV 3HULPHWHU UHVHUYHV WKH ULJKW WR DVVHUW DOO DSSOLFDEOH
      GHIHQVHV XQGHU WKH $UL]RQD 5XOHV RI &LYLO 3URFHGXUH DV LQYHVWLJDWLRQ DQG GLVFRYHU\
      SURFHHGV3HULPHWHUDGRSWVE\UHIHUHQFHDQ\DGGLWLRQDODSSOLFDEOHGHIHQVHSOHDGHGE\DQ\
      RWKHUGHIHQGDQWVQRWRWKHUZLVHSOHDGHGKHUHLQ
             WHEREFORE3HULPHWHUUHVSHFWIXOO\UHTXHVWVWKDWWKLV&RXUWHQWHUMXGJPHQWLQ
      WKHLUIDYRUDJDLQVW3ODLQWLIIVDVIROORZV
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                                                         Attorneys for Perimeter Solutions, LP

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       Attorney for Matlick Enterprises, Inc.
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                               PARTIES, JURISDICTION, AND VENUE
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                                       FIRST CLAIM FOR RELIEF
    (Strict Products Liability-Design Defect and Failure to Warn against All Defendants)
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                                       SECOND CLAIM FOR RELIEF
                       (Negligent Failure to Warn against Manufacturing Defendants)
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    &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
    DOOHJDWLRQVDQGRQWKDWEDVLVGHQLHVWKHP
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    &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
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    &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
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                                        THIRD CLAIM FOR RELIEF
                        (Negligent Plan or Design of Product against All Defendants)
                     &KHPJXDUG UHDOOHJHV HDFK RI LWV DQVZHUV WR WKH SUHFHGLQJ SDUDJUDSKV DQG
     LQFRUSRUDWHVHDFKVXFKDQVZHUDVLIIXOO\VWDWHGKHUHLQ
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     &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
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    &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
    DOOHJDWLRQVDQGRQWKDWEDVLVGHQLHVWKHP
                                      FOURTH CLAIM FOR RELIEF
                      (Punitive Damages against Chemguard and Perimeter Solutions)
                    &KHPJXDUG UHDOOHJHV HDFK RI LWV DQVZHUV WR WKH SUHFHGLQJ SDUDJUDSKV DQG
    LQFRUSRUDWHVHDFKVXFKDQVZHUDVLIIXOO\VWDWHGKHUHLQ
                    5HVSRQGLQJ WR 3DUDJUDSK  &KHPJXDUG DOOHJHV WKDW WKH DOOHJDWLRQV DUH
    YDJXH DQG DPELJXRXV DV WR ZKDW LV PHDQW E\ ³PDQ\ \HDUV DJR´ DQG ³PDQXIDFWXULQJ
    PDUNHWLQJDQGVHOOLQJ´DQGRQWKRVHEDVHV&KHPJXDUGGHQLHVWKHDOOHJDWLRQVWRWKHH[WHQW
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    &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
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    &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
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    &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
    DOOHJDWLRQVDQGRQWKDWEDVLVGHQLHVWKHP
                                      FIFTH CLAIM FOR RELIEF
                                           (Loss of Consortium)
                  &KHPJXDUG UHDOOHJHV HDFK RI LWV DQVZHUV WR WKH SUHFHGLQJ SDUDJUDSKV DQG
    LQFRUSRUDWHVHDFKVXFKDQVZHUDVLIIXOO\VWDWHGKHUHLQ
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     &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
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     &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXWWKHWUXWKRIWKH
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                   &KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWRIRUPDEHOLHIDERXW
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                                   RULE 26.2 TIER ALLEGATIONS
                  5HVSRQGLQJWR3ODLQWLIIV¶5XOH7LHU$OOHJDWLRQV&KHPJXDUGDOOHJHVWKDW
    WKHVHDOOHJDWLRQVVWDWHOHJDOFRQFOXVLRQVWRZKLFKQRUHVSRQVHLVUHTXLUHGDQGRQWKDWEDVLV
    &KHPJXDUGGHQLHVWKHP7RWKHH[WHQWWKDWDIXUWKHUUHVSRQVHLVUHTXLUHGDQGWKHDOOHJDWLRQV
    DUHGLUHFWHGDW&KHPJXDUGWKRVHDOOHJDWLRQVDUHGHQLHG7RWKHH[WHQWWKDWWKHDOOHJDWLRQV
    DUHGLUHFWHGDWRWKHUGHIHQGDQWV&KHPJXDUGODFNVNQRZOHGJHRULQIRUPDWLRQVXIILFLHQWWR
    IRUPDEHOLHIDERXWWKHWUXWKRIWKHDOOHJDWLRQVDQGRQWKDWEDVLVGHQLHVWKHP
                                         PRAYER FOR RELIEF
                  &KHPJXDUGGHQLHV WKHDOOHJDWLRQVLQWKHILQDOSDUDJUDSKVRIWKH &RPSODLQW
    ZKHUHLQ 3ODLQWLIIV PDNH WKHLU SUD\HU IRU UHOLHI LQFOXGLQJ DOO VXESDUDJUDSKV  DQG IXUWKHU
    GHQLHVWKDW3ODLQWLIIVDUHHQWLWOHGWRDQ\GDPDJHVRUUHPHGLHVDJDLQVWWKHP
                                           GENERAL DENIAL
                  &KHPJXDUG GHQLHV DOO DOOHJDWLRQV LQ WKH &RPSODLQW WKDW DUH QRW H[SUHVVO\
    DGPLWWHG KHUHLQ  ,Q SDUWLFXODU WKH &RPSODLQW URXWLQHO\ UHIHUV ZLWKRXW GLIIHUHQWLDWLRQ WR
    ³'HIHQGDQWV´RU³0DQXIDFWXUHU'HIHQGDQWV´ZKLFKIRUPXODWLRQVLQFOXGHHQWLWLHVRWKHUWKDQ
    &KHPJXDUG  8QOHVV DQ DOOHJDWLRQ DV WR WKRVH RWKHU GHIHQGDQWV LV VSHFLILFDOO\ DGPLWWHG



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     KHUHLQ &KHPJXDUG ODFNV NQRZOHGJH RU LQIRUPDWLRQ VXIILFLHQW WRIRUP D EHOLHI DERXW WKH
     WUXWKRIDQ\PDWWHUUHJDUGLQJWKRVHGHIHQGDQWVDQGRQWKDWEDVLVGHQLHVWKHP$GGLWLRQDOO\
     WRWKHH[WHQWWKDWDQ\KHDGLQJVRUVXEKHDGLQJVLQWKH&RPSODLQWDUHLQWHQGHGDVDOOHJDWLRQV
     WKRVHDOOHJDWLRQVDUHGHQLHG
                   7KLV $QVZHU LV EDVHG &KHPJXDUG¶V LQYHVWLJDWLRQ WR GDWH DQG &KHPJXDUG
     UHVHUYHVWKHULJKWWRVXSSOHPHQWRUDPHQGWKLV$QVZHUGXULQJWKHFRXUVHRIWKHOLWLJDWLRQDV
     QHZLQIRUPDWLRQLVOHDUQHG
                                       AFFIRMATIVE DEFENSES
               &KHPJXDUGDVVHUWVWKHIROORZLQJGHIHQVHVZLWKRXWDVVXPLQJWKHEXUGHQRISURRIRU
    SURGXFWLRQDVWRDQ\LVVXHRUHOHPHQWWKDWRWKHUZLVHUHVWVZLWK3ODLQWLIIV%\OLVWLQJWKHVH
    PDWWHUVDVGHIHQVHV&KHPJXDUGGRHVQRWDGPLWRUDFNQRZOHGJHWKDWLWEHDUVWKHEXUGHQRI
    SURRIDQGRUSURGXFWLRQZLWKUHVSHFWWRDQ\RIWKHP7KLVVWDWHPHQWRIGHIHQVHVLVEDVHG
    RQ&KHPJXDUG¶VLQYHVWLJDWLRQWRGDWHDQG&KHPJXDUGUHVHUYHVDOOULJKWVWR L VXSSOHPHQW
    RUDPHQGWKHVHGHIHQVHVGXULQJWKHFRXUVHRIOLWLJDWLRQDVQHZLQIRUPDWLRQLVOHDUQHG LL 
    WRDVVHUWDQ\DQGDOORWKHUGHIHQVHVQRZDYDLODEOHRUWKDWPD\EHFRPHDYDLODEOHGXULQJWKH
    FRXUVHRIGLVFRYHU\RUWULDO LLL WRUHO\RQDQ\DQGDOOGHIHQVHVDQGSUHVXPSWLRQVVHWIRUWK
    LQRUDULVLQJIURPDQ\UXOHRIODZRUVWDWXWHRIDQ\VWDWHZKRVHVXEVWDQWLYHODZPLJKW
    FRQWUROWKHUHOHYDQWDFWLRQDQGRU LY WRUHO\XSRQDQ\RWKHUGHIHQVHVVHWIRUWKLQDQ\
    $QVZHURUGLVFORVXUHRIDIILUPDWLYHGHIHQVHVRIDQ\'HIHQGDQWLQWKLVDFWLRQ$OORIWKH
    IROORZLQJGHIHQVHVDUHSOHGLQWKHDOWHUQDWLYHDQGQRQHFRQVWLWXWHVDQDGPLVVLRQWKDW
    &KHPJXDUGLVOLDEOHWR3ODLQWLIIVWKDW3ODLQWLIIVKDYHEHHQRUZLOOEHLQMXUHGRUGDPDJHG
    LQDQ\ZD\RUWKDW3ODLQWLIIVDUHHQWLWOHGWRDQ\UHOLHIZKDWVRHYHU
                   7KH&RPSODLQWDQGHDFKFDXVHRIDFWLRQRUFRXQWDOOHJHGWKHUHLQIDLOVWRVWDWH
    IDFWVVXIILFLHQWWRFRQVWLWXWHDFODLPXSRQZKLFKUHOLHIPD\EHJUDQWHGDJDLQVW&KHPJXDUG
                   7KLV&RXUWODFNVSHUVRQDOMXULVGLFWLRQRYHU&KHPJXDUGDQG WKH&RPSODLQW
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                    3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWE\WKHDSSOLFDEOH
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    HVWRSSHOIURPDOOIRUPVRIUHOLHIVRXJKWLQWKH&RPSODLQW
                  3ODLQWLIIV¶ FODLPV DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ SDUW XQGHU WKH EXON
    VXSSOLHU FRPSRQHQW SDUW VXSSOLHU VRSKLVWLFDWHGSXUFKDVHU VRSKLVWLFDWHGXVHU
    VRSKLVWLFDWHGLQWHUPHGLDU\DQGRUNQRZOHGJHDEOHXVHUGRFWULQHVRURWKHUVLPLODURUUHODWHG



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     GRFWULQHVRILQWHUYHQLQJFDXVHDQGRUVXSHUVHGLQJFDXVH
                   3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWEHFDXVHRISURGXFW
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                   3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWEHFDXVHWKHSODQV
     RU GHVLJQV IRU WKH SURGXFWV DW LVVXH RU WKH PHWKRGV DQG WHFKQLTXHV RI PDQXIDFWXULQJ
     LQVSHFWLQJWHVWLQJDQGODEHOLQJWKHSURGXFWVFRQIRUPHGZLWKWKHVWDWHRIWKHDUWDWWKHWLPH
     WKHSURGXFWZDVILUVWVROGE\WKHGHIHQGDQW$UL]5HY6WDW  
                  3ODLQWLIIV¶ FODLPV DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ SDUW EHFDXVH WKH
    SUR[LPDWHFDXVHRIWKHLQFLGHQWJLYLQJULVHWRWKHDFWLRQZDVDQDOWHUDWLRQRUPRGLILFDWLRQ
    RI WKH SURGXFW WKDW ZDV QRW UHDVRQDEO\ IRUHVHHDEOH PDGH E\ D SHUVRQ RWKHU WKDQ WKH
    GHIHQGDQWDQGVXEVHTXHQWWRWKHWLPH WKHSURGXFWZDVILUVW VROGE\ WKHGHIHQGDQW$UL]
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    SUR[LPDWHFDXVHRIWKHLQFLGHQWJLYLQJULVHWRWKHDFWLRQZDVDXVHRUFRQVXPSWLRQRIWKH
    SURGXFW WKDW ZDV IRU D SXUSRVH LQ D PDQQHU RU LQ DQ DFWLYLW\ RWKHU WKDQ WKDW ZKLFK ZDV
    UHDVRQDEO\IRUHVHHDEOHRUZDVFRQWUDU\WRDQ\H[SUHVVDQGDGHTXDWHLQVWUXFWLRQVRUZDUQLQJV
    DSSHDULQJ RQ RU DWWDFKHG WR WKH SURGXFW RU RQ LWV RULJLQDO FRQWDLQHU RU ZUDSSLQJ LI WKH
    LQWHQGHGFRQVXPHUNQHZRUZLWKWKHH[HUFLVHRIUHDVRQDEOHDQGGLOLJHQWFDUHVKRXOGKDYH
    NQRZQRIVXFKLQVWUXFWLRQVRUZDUQLQJV$UL]5HY6WDW  
                  3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWE\WKHGRFWULQHRI
    HOHFWLRQRIUHPHGLHV
                  3ODLQWLIIV¶FODLPVDUHVXEMHFWWRDOOGHIHQVHVWKDWFRXOGEHDVVHUWHGLI3ODLQWLIIV¶
    FODLPVZHUHSURSHUO\PDGHE\LQGLYLGXDOVRQZKRVHEHKDOIRUIRUZKRVHDOOHJHGGDPDJHV
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     &KHPJXDUGQHLWKHUNQHZQRUVKRXOGKDYHNQRZQWKDWDQ\RILWV$)))SURGXFWVSRVHGWKH
     ULVNV DOOHJHG E\ 3ODLQWLIIV E\ YLUWXH RI WKH SUHYDLOLQJ VWDWH RI WKH PHGLFDO VFLHQWLILF
     WHFKQLFDODQGRULQGXVWULDONQRZOHGJHDYDLODEOHWR&KHPJXDUGDWDOOWLPHVUHOHYDQWWRWKH
     FODLPVRUFDXVHVRIDFWLRQDVVHUWHGE\3ODLQWLIIV
                   3ODLQWLIIV¶ FODLPV DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ SDUW EHFDXVH
     &KHPJXDUGXVHGSURSHUPHWKRGVLQGHVLJQLQJWHVWLQJDQGPDQXIDFWXULQJWKHLUSURGXFWVLQ
     FRQIRUPLW\ ZLWK L IHGHUDO DQG VWDWH UHJXODWLRQV VWDQGDUGV VSHFLILFDWLRQV DQG ODZV LQ
     HIIHFW LL DYDLODEOHNQRZOHGJHDQGUHVHDUFKRIWKHVFLHQWLILFDQGLQGXVWULDOFRPPXQLWLHV
        LLL JHQHUDOO\UHFRJQL]HGDQGSUHYDLOLQJLQGXVWU\VWDQGDUGVDQG LY WKHVWDWHRIWKHDUWLQ
    H[LVWHQFH DW WKH WLPH WKH GHVLJQ ZDV SUHSDUHG DQG WKH SURGXFWV ZHUH PDQXIDFWXUHG DQG
    WHVWHG
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    VWDWH DQGRU ORFDO DXWKRULWLHV DXWKRUL]HG UDWLILHG RU ZHUH DZDUH RI DQG DFTXLHVFHG LQ
    DFWLRQV E\ &KHPJXDUG WKDW DUH WKH VXEMHFW RI 3ODLQWLII¶V FODLPV &KHPJXDUG LV QRW
    UHVSRQVLEOH RU OLDEOH IRU DQ\ DFWV RU RPLVVLRQV XQGHUWDNHQ E\ RU DW WKH GLUHFWLRQ RI DQ\
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                  3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWE\WKHGRFWULQHRI
    SULPDU\MXULVGLFWLRQ
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    RIIHGHUDOSUHHPSWLRQLQFOXGLQJZLWKRXWOLPLWDWLRQH[SUHVVSUHHPSWLRQLPSOLHGFRQIOLFW
    SUHHPSWLRQDQGILHOGSUHHPSWLRQSXUVXDQWWRDQ\DSSOLFDEOHVWDWXWHVUHJXODWLRQVJXLGDQFH
    GRFXPHQWV QRWLFHV PLOLWDU\ VSHFLILFDWLRQ DQG SROLF\ VWDWHPHQWV HQDFWHG DQGRU
    SURPXOJDWHG DQGRU LVVXHG E\ &RQJUHVV IHGHUDO DJHQFLHV RU WKH H[HFXWLYH EUDQFK
    LQFOXGLQJ ZLWKRXW OLPLWDWLRQ WR WKH H[WHQW WKDW 3ODLQWLII¶V FODLPV FRQVWLWXWH DQ
    LPSHUPLVVLEOHFKDOOHQJHWRDUHVSRQVHRUUHPHGLDWLRQDFWLRQXQGHU&(5&/$86&



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     SXEOLFQHFHVVLW\SULYDWHQHFHVVLW\DQGRUSULYLOHJH
                   'LVFRYHU\PD\HVWDEOLVKWKDW3ODLQWLIIVHQJDJHGLQIUDXGXOHQWDQGRUQHJOLJHQW
     DFWV RU RPLVVLRQV DQG WKHUHE\ DUH DW IDXOW IRU LWV RZQ DOOHJHG LQMXULHV DQG EDUUHG IURP
     UHFRYHU\EDVHGRQWKHGRFWULQHRILQSDULGHOLFWRWKHGHIHQVHRIXQFOHDQKDQGVRUHVWRSSHO
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     ZURQJIXOFRQGXFWDQGRUQHJOLJHQWDFWVRURPLVVLRQVDQGWKHUHE\SUR[LPDWHO\FDXVHGDQG
    FRQWULEXWHGWRWKHLURZQDOOHJHGLQMXULHV,QDGGLWLRQ&KHPJXDUGLQYRNHVDQ\VXFKRWKHU
    VWDWXWRU\RUFRPPRQODZSULQFLSOHVRIFRQWULEXWRU\RUFRPSDUDWLYHQHJOLJHQFHDVPD\EH
    GHHPHG WR DSSO\ WKDW SHUPLW DOORFDWLRQ RU DSSRUWLRQPHQW RI IDXOW SXUVXDQW WR DSSOLFDEOH
    VWDWH ODZ DQGRU WKDW SHUPLW D SURSRUWLRQDO UHGXFWLRQ RI DQ\ GDPDJHV IRXQG DJDLQVW
    &KHPJXDUGEDVHGRQWKHWRUWLRXVFRQGXFWRIDQ\VHWWOLQJWRUWIHDVRUDQGRUUHVSRQVLEOHWKLUG
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    LQYRNHVDQ\VXFKRWKHUVWDWXWRU\RUFRPPRQODZSULQFLSOHVWKDWPD\SURKLELWRUOLPLWWKH
    DSSOLFDWLRQ RI MRLQW OLDELOLW\ SHUPLW DOORFDWLRQ RU DSSRUWLRQPHQW RI IDXOW SXUVXDQW WR
    DSSOLFDEOH VWDWH ODZ SHUPLW D SURSRUWLRQDO UHGXFWLRQ RI DQ\ GDPDJHV IRXQG DJDLQVW
    &KHPJXDUGEDVHGRQWKHWRUWLRXVFRQGXFWRIDQ\VHWWOLQJWRUWIHDVRUDQGRUUHVSRQVLEOHWKLUG
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    QHJOLJHQFHRUDFWXDOFRQGXFWRIHQWLWLHVRUSHUVRQVRWKHUWKDQ&KHPJXDUGDQGLQWKHHYHQW
    WKDW &KHPJXDUG LV IRXQG WR EH OLDEOH WR 3ODLQWLIIV &KHPJXDUG ZLOO EH HQWLWOHG WR
    LQGHPQLILFDWLRQFRQWULEXWLRQDQGRUDSSRUWLRQPHQW6HH$UL]5HY6WDW
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     DIILUPDWLYHGHIHQVHRISD\PHQW RUOLNHGHIHQVH WKHGDPDJHVDVVHUWHGE\3ODLQWLIIVPXVW
     EH UHGXFHG E\ DQ\ DPRXQWV UHFRYHUHG E\ WKHP LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DPRXQWV
     UHFHLYHGWRSD\IRUUHPHGLDWLRQHIIRUWVVHWWOHPHQWZLWKWKLUGSDUWLHV ZKHWKHUWKHUHVXOWRI
     IRUPDOSURFHHGLQJVRUQRW RURWKHUDYHQXHVRIUHFRYHU\
                   3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWE\WKHGRFWULQHV
     RIDFTXLHVFHQFHDFFRUGDQGVDWLVIDFWLRQUDWLILFDWLRQVHWWOHPHQWRUUHOHDVH
                   3ODLQWLIIV¶FODLPVDUHRUPD\EHEDUUHGLQZKROHRULQSDUWEHFDXVH3ODLQWLIIV
     PD\ KDYH IDLOHG RU UHIXVHG WR H[HUFLVH UHDVRQDEOH FDUH DQG GLOLJHQFH WR DYRLG ORVV DQG
    PLQLPL]HGDPDJHVDQGWKHUHIRUHPD\QRWUHFRYHUIRUORVVHVWKDWFRXOGKDYHEHHQSUHYHQWHG
    E\UHDVRQDEOHHIIRUWVRQWKHLUSDUWRUE\H[SHQGLWXUHVZKLFKPLJKWUHDVRQDEO\KDYHEHHQ
    PDGH  5HFRYHU\ LI DQ\ VKRXOG WKHUHIRUH EH UHGXFHG E\ 3ODLQWLIIV¶ IDLOXUH WR PLWLJDWH
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    HFRQRPLFORVVUXOH
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    FRPPRQODZRUVWDWXWRU\GRFWULQHVLQFOXGLQJEXWQRWOLPLWHGWRDYRLGDEOHFRQVHTXHQFHV
    YROXQWDU\ H[SRVXUH DVVXPSWLRQ RI ULVN RSHQ DQG REYLRXV ULVN DQG PDWWHUV RI FRPPRQ
    NQRZOHGJH
                  3ODLQWLIIV¶ FODLPV DJDLQVW &KHPJXDUG DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ
    SDUWEHFDXVHDVXFFHVVRUFRUSRUDWLRQLVQRWOLDEOHIRUWKHIRUPHU¶VFRUSRUDWLRQ¶VGHEWVDQG
    OLDELOLWLHV
                  3ODLQWLIIV¶ FODLPV DUH RU PD\ EH EDUUHG LQ ZKROH RU LQ SDUW EHFDXVH WKH
    IRUHVHHDEOHULVNVDVVRFLDWHGZLWKWKHGHVLJQRUIRUPXODWLRQRIWKHUHOHYDQWSURGXFW V GLG
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     UHGXFHGLQZKROHRULQSDUWE\DSSOLFDEOHODZRUVWDWXWHLQFOXGLQJEXWQRWOLPLWHGWR$UL]
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     GXH SURFHVV SURWHFWLRQV DIIRUGHG E\ WKH 8QLWHG 6WDWHV &RQVWLWXWLRQ WKH H[FHVVLYH ILQHV
     FODXVHRIWKH(LJKWK$PHQGPHQWRIWKH8QLWHG6WDWHV&RQVWLWXWLRQWKH)XOO)DLWKDQG&UHGLW
     &ODXVHRIWKH8QLWHG6WDWHV&RQVWLWXWLRQDQGDSSOLFDEOHSURYLVLRQVRIWKH&RQVWLWXWLRQRI
    $UL]RQDRUWKDWRIDQ\RWKHUVWDWHZKRVHODZVPD\DSSO\$Q\ODZVWDWXWHRURWKHUDXWKRULW\
    SXUSRUWLQJ WR SHUPLW WKH UHFRYHU\ RI SXQLWLYH GDPDJHV LQ WKLV FDVH LV XQFRQVWLWXWLRQDO
    IDFLDOO\DQGDVDSSOLHGWRWKHH[WHQWZLWKRXWOLPLWDWLRQWKDWLW  ODFNVFRQVWLWXWLRQDOO\
    VXIILFLHQW VWDQGDUGV WR JXLGH DQG UHVWUDLQ WKH MXU\¶V GLVFUHWLRQ LQ GHWHUPLQLQJ ZKHWKHU WR
    DZDUGSXQLWLYHGDPDJHVDQGRUWKHDPRXQWLIDQ\  LVYRLGIRUYDJXHQHVVLQWKDWLWIDLOV
    WRSURYLGHDGHTXDWHDGYDQFHQRWLFHDVWRZKDWFRQGXFWZLOOUHVXOWLQSXQLWLYHGDPDJHV  
    XQFRQVWLWXWLRQDOO\PD\SHUPLWUHFRYHU\RISXQLWLYHGDPDJHVEDVHGRQKDUPVWRWKLUGSDUWLHV
    RXWRIVWDWHFRQGXFWFRQGXFWWKDWFRPSOLHGZLWKDSSOLFDEOHODZRUFRQGXFWWKDWZDVQRW
    GLUHFWHGRUGLGQRWSUR[LPDWHO\FDXVHKDUPWR3ODLQWLII  XQFRQVWLWXWLRQDOO\PD\SHUPLW
    UHFRYHU\RISXQLWLYHGDPDJHVLQDQDPRXQWWKDWLVQRWERWKUHDVRQDEOHDQGSURSRUWLRQDWHWR
    WKHDPRXQWRIKDUPLIDQ\WR3ODLQWLIIVDQGWRWKHDPRXQWRIFRPSHQVDWRU\GDPDJHVLI
    DQ\  XQFRQVWLWXWLRQDOO\PD\SHUPLWMXU\FRQVLGHUDWLRQRIQHWZRUWKRURWKHUILQDQFLDO
    LQIRUPDWLRQ UHODWLQJ WR &KHPJXDUG   ODFNV FRQVWLWXWLRQDOO\ VXIILFLHQW VWDQGDUGV WR EH
    DSSOLHGE\WKHWULDOFRXUWLQSRVWYHUGLFWUHYLHZRIDQ\SXQLWLYHGDPDJHVDZDUG  ODFNV
    FRQVWLWXWLRQDOO\VXIILFLHQWVWDQGDUGVIRUDSSHOODWHUHYLHZRISXQLWLYHGDPDJHVDZDUGV  
    ZRXOG XQFRQVWLWXWLRQDOO\ LPSRVH D SHQDOW\ FULPLQDO LQ QDWXUH ZLWKRXW DFFRUGLQJ
    &KHPJXDUGWKHVDPHSURFHGXUDOSURWHFWLRQVWKDWDUHDFFRUGHGWRFULPLQDOGHIHQGDQWVXQGHU



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    PRWLRQDQGSXUVXDQWWR5XOH D  ( WKHIROORZLQJRULJLQDOGRFXPHQWVDUHDWWDFKHG
               9HULILHG$SSOLFDWLRQWR$SSHDU3UR+DF9LFH
               &HUWLILFDWH V RI*RRG6WDQGLQJDQG
               6WDWH%DURI$UL]RQD1RWLFHRI5HFHLSWRI&RPSOHWH$SSOLFDWLRQ
           -XVWLQ%&DUHVLDKHUHE\DJUHHVWRVHUYHDVORFDOFRXQVHOLQWKLVPDWWHUDQGDFFHSWV
    WKHUHVSRQVLELOLWLHVGHWDLOHGLQ5XOH D $UL]56XS&W
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   '$7(''HFHPEHU                         5HVSHFWIXOO\VXEPLWWHG
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                                                    /s/ Justin B. Caresia
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                                                    &RQQHFWLFXW$YH1:6XLWH
                                                       :DVKLQJWRQ'&
                                                    PWKXUORZ#EDNHUODZFRP
                                                    UNQXGVHQ#EDNHUODZFRP
                                                       
                                                    Counsel for Perimeter Solutions LP
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    7KHIRUHJRLQJZDVHILOHGDQGDFRS\RI
      WKHIRUHJRLQJZDVGHOLYHUHG
 
      WKLVVWGD\RI'HFHPEHUWR
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      3DWULFN-0F*URGHU,,,
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      6W&KDUOHV$YH)ORRU
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   NPLOOHU#ILVKPDQKD\JRRGFRP
      MEXUJH#ILVKPDQKD\JRRGFRP
   GWHXWRQLFR#ILVKPDQKD\JRRGFRP
   Attorneys for Plaintiffs

   $P\/HYLQH+HLVHUPDQ
      (ULF%-RKQVRQ
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      5HQDLVVDQFH2QH

      7ZR1RUWK&HQWUDO$YH
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      DP\KHLVHUPDQ#TXDUOHVFRP
   HULFMRKQVRQ#TXDUOHVFRP
   Attorneys for Defendant Chemguard, Inc.

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      6FRWWVGDOH$UL]RQD

      HOHY\#UODWWRUQH\VFRP
   Attorney for Matlick Enterprises, Inc.
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   /s/ Justin B. Caresia                           
   -XVWLQ%&DUHVLD                              
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    SMPLY#EHXVJLOEHUWFRP

    .HUU\0LOOHUpro hac pending
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    'DQLHOOH7HXWRQLFRpro hac pending
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    1HZ2UOHDQV/RXLVLDQD
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   NPLOOHU#ILVKPDQKD\JRRGFRP
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   GWHXWRQLFR#ILVKPDQKD\JRRGFRP
     Attorneys for Plaintiffs
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                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
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                                  IN AND FOR THE COUNTY OF COCONINO
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        )25%$&+LQGLYLGXDOO\DQGDVKXVEDQG                    &DVH1R6&9
      DQGZLIH
                                                                  (PROPOSED) SCHEDULING
      3ODLQWLIIV                 ORDER
      Y
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        &+(0*8$5',1&D:LVFRQVLQ
      FRUSRUDWLRQ3(5,0(7(562/87,216/3
        D'HODZDUHOLPLWHGSDUWQHUVKLSDQG0$7/,&.
      (17(535,6(6,1&DQ$UL]RQDFRUSRUDWLRQ

    'HIHQGDQWV


           8321 &216,'(5$7,21 RI WKH 3DUWLHV¶ 3URSRVHG 6FKHGXOLQJ 2UGHU WKH &RXUW
   RUGHUVDVIROORZV
     Case 3:24-cv-08234-DWL       Document 1-1        Filed 12/13/24   Page 118 of 150



    1.   INITIAL DISCLOSURE: 7KH3DUWLHVVKDOOH[FKDQJH,QLWLDO'LVFORVXUH6WDWHPHQWV

         RQRUEHIRUH1RYHPEHU

    2.   EXPERT WITNESS DISCLOSURE:  3ODLQWLII VKDOO GLVFORVH WKH LGHQWLW\ DQG

         RSLQLRQVRIH[SHUWVE\6HSWHPEHU'HIHQGDQWVVKDOOGLVFORVHWKHLGHQWLW\DQG

         RSLQLRQVRIWKHLUH[SHUWVE\2FWREHU $Q\UHEXWWDOH[SHUWV¶RSLQLRQVZLOOEH

         GLVFORVHGE\1RYHPEHU

    3.   LAY (NON-EXPERT) WITNESS DISCLOSURE:  7KH SDUWLHV VKDOO GLVFORVH OD\

         ZLWQHVVHVE\0D\ ZLWKRQJRLQJGLVFORVXUHVSHUWKHUXOHVDQGILQDOGLVFORVXUHV

         DVVWDWHGKHUHLQ

   4.   FINAL SUPPLEMENTAL DISCLOSURE:                        (DFK SDUW\ VKDOO SURYLGH ILQDO

        VXSSOHPHQWDO GLVFORVXUH LQFOXGLQJ ILQDO VXSSOHPHQWDWLRQ RI ZLWQHVVHV H[KLELWV

        GLVFORVXUHVWDWHPHQWVGLVFRYHU\UHVSRQVHVDQGPHGLFDOOLWHUDWXUHWREHXVHGDWWULDO

        ZKHWKHUIRUXVHRQGLUHFWH[DPLQDWLRQFURVVH[DPLQDWLRQRURWKHUZLVHE\'HFHPEHU

        7KLVRUGHUGRHVQRWUHSODFHWKHSDUWLHV¶REOLJDWLRQWRVHDVRQDEO\GLVFORVH5XOH

        LQIRUPDWLRQRQDQRQJRLQJEDVLVDQGDVLWEHFRPHVDYDLODEOH

        No party shall use any lay witness, expert witness, expert opinion, or exhibit at

        trial not disclosed in a timely manner, except under order of the Court for good

        cause shown or upon a written or an on-the-record agreement of the parties.

   5.   DISCOVERY DEADLINES:

        $     7KHSDUWLHVVKDOOXQGHUWDNHGLVFRYHU\LQWZRSKDVHVLQWKLVFDVH3KDVHVKDOO

               LQFOXGHGLVFRYHU\UHJDUGLQJWKHVDOHVSXUFKDVHVDQGGLVWULEXWLRQRIILUHILJKWLQJ

               IRDP SURGXFWV FRQWDLQLQJ RU DOOHJHG WR FRQWDLQ SHUDQG SRO\IOXRURDON\O

               VXEVWDQFHV ³3)$6´ WRWKH)ODJVWDII)LUH'HSDUWPHQWDQGGLVFRYHU\FRQFHUQLQJ

               SODLQWLIIV¶ DOOHJDWLRQV WKDW &ODVV $ IRDPV FRQWDLQ 3)$6 IRU SXUSRVHV RI


                                                  
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                 LGHQWLI\LQJWKHSURGXFWVDWLVVXH3KDVHVKDOOLQFOXGHGLVFRYHU\RQDOOPDWWHUV

                 DWLVVXHLQWKLVFDVH1RWZLWKVWDQGLQJWKHWRSLFVLQFOXGHGLQ3KDVHDERYHWKH

                 3DUWLHVVKDOOEHHQWLWOHGWRFRQGXFWIXUWKHUGLVFRYHU\UHJDUGLQJWKH'HIHQGDQWV¶

                 JHQHUDOVDOHVDQGGLVWULEXWLRQSUDFWLFHVUHODWLQJWRILUHILJKWLQJIRDPGXULQJ3KDVH

                 

         %      7KHSDUWLHVZLOOSURSRXQGGLVFRYHU\XQGHUWDNHQSXUVXDQWWR5XOHV

                 DQGIRU3KDVHGLVFRYHU\E\-DQXDU\

         &      7KHSDUWLHVZLOOSURSRXQGGLVFRYHU\XQGHUWDNHQSXUVXDQWWR5XOHV

                 DQGIRU3KDVHGLVFRYHU\E\$XJXVW7KHSDUWLHVZLOOSURSRXQGDOO

                GLVFRYHU\XQGHUWDNHQSXUVXDQWWR5XOHIRU3KDVHGLVFRYHU\E\$XJXVW

                

        '      7KH SDUWLHV ZLOO FRPSOHWH WKH GHSRVLWLRQV RI SDUWLHV IRU 3KDVH  GLVFRYHU\ E\

                0DUFK

        (      7KHSDUWLHVZLOOFRPSOHWHWKHGHSRVLWLRQVRISDUWLHVDQGOD\ZLWQHVVHVIRU3KDVH

                GLVFRYHU\E\$XJXVW

        )      7KHSDUWLHVZLOOFRPSOHWHWKHGHSRVLWLRQVRIH[SHUWZLWQHVVHVE\'HFHPEHU

                

        *      7KHSDUWLHVZLOOFRPSOHWHDOORWKHUGLVFRYHU\E\'HFHPEHU ³&RPSOHWH

                GLVFRYHU\´ LQFOXGHV FRQFOXVLRQ RI DOO GHSRVLWLRQV DQG VXSSOHPHQWDWLRQV RI

                UHVSRQVHVWRZULWWHQGLVFRYHU\ 

   6.   PRIVATE MEDIATION: 7KHSDUWLHVDJUHHWRDSULYDWHPHGLDWLRQE\-DQXDU\

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    7.    DISPOSITIVE MOTIONS AND TRIAL:

          $    7KHSDUWLHVVKDOOILOHGLVSRVLWLYHPRWLRQVUHODWLQJWR3KDVHRIWKHFDVHE\-XQH

                

          %    7KHSDUWLHVVKDOOILOHDOOGLVSRVLWLYHPRWLRQVE\0DUFK

          &    7KHSDUWLHVSURSRVHDWULDOGDWHRIQRODWHUWKDQ0D\

          '    7KHSDUWLHVEHOLHYHWKHWULDOZLOOODVWWHQ  GD\V

    8.    TRIAL SETTING CONFERENCE

          $    2Q0DUFKRUDQRWKHUWLPHFKRVHQE\WKH&RXUWWKH&RXUWZLOOFRQGXFW

                DWHOHSKRQLFWULDOVHWWLQJFRQIHUHQFH$WWRUQH\VDQGVHOIUHSUHVHQWHGSDUWLHVVKDOO

               KDYHWKHLUFDOHQGDUVDYDLODEOHIRUWKHFRQIHUHQFH

         %    3ODLQWLIIZLOOLQLWLDWHWKHFRQIHUHQFHFDOOE\DUUDQJLQJIRUWKHSUHVHQFHRIDOORWKHU

               FRXQVHODQGVHOIUHSUHVHQWHGSDUWLHVDQGE\FDOOLQJWKLVGLYLVLRQDW  

               DWWKHVFKHGXOHGWLPH

   9.    FIRM DATES:

         $    1R VWLSXODWLRQ RI WKH SDUWLHV WKDW DOWHUV D ILOLQJ GHDGOLQH RU D KHDULQJ GDWH

               FRQWDLQHGLQWKLVVFKHGXOLQJRUGHUZLOOEHHIIHFWLYHZLWKRXWDQRUGHURIWKLV&RXUW

               DSSURYLQJWKHVWLSXODWLRQ

         %    'DWHVVHWIRUWKLQWKLVRUGHUWKDWJRYHUQFRXUWILOLQJVRUKHDULQJVDUHILUPGDWHV

               DQGPD\EHPRGLILHGRQO\ZLWKWKLV&RXUW¶VFRQVHQWDQGIRUJRRGFDXVH

         &    7KLV&RXUWRUGLQDULO\ZLOOQRWFRQVLGHUDODFNRISUHSDUDWLRQJRRGFDXVH

   10.   FURTHER ORDERS:7KHFRXUWIXUWKHURUGHUVDVIROORZV

         'DWHBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                      -XGJHRIWKH6XSHULRU&RXUW


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                                                     
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    SURYLVLRQV RI 5XOH  7KH SDUWLHV DUH VXEPLWWLQJ D 3URSRVHG 6FKHGXOLQJ 2UGHU ZLWK WKLV

    -RLQW5HSRUW(DFKGDWHLQWKH-RLQW5HSRUWDQGLQWKH3URSRVHG6FKHGXOLQJ2UGHULQFOXGHVD

    FDOHQGDUPRQWKGD\DQG\HDU

    1.    BRIEF DESCRIPTION OF THE CASE

           :HVOH\ )RUEDFK LV D ILUHILJKWHU IRU WKH )ODJVWDII )LUH 'HSDUWPHQW DQG KDV EHHQ

    DOOHJHGO\ H[SRVHG WR $))) ILUHILJKWLQJ IRDPV ZKLFK FRQWDLQ 3)$6 IOXRULQDWHG V\QWKHWLFDO

    FKHPLFDOFRPSRXQGVZKRVHIDPLO\LQFOXGHV3)26DQG3)2$$IWHURYHUDGHFDGHRIVHUYLFH

    ZLWKWKH)ODJVWDII)LUH'HSDUWPHQWDQGDOOHJHGXVHRI$)))ILUHILJKWLQJIRDPV:HVOH\ZDV

    GLDJQRVHGZLWKWHVWLFXODUFDQFHUZLWKDWXPRU:HVOH\XQGHUZHQWDQRUFKLHFWRP\UHPRYLQJ

   RQHRIKLVWHVWLFOHVDQGDIWHUWKDWWHVWLFOHWHVWHGSRVLWLYHIRUFDQFHUFKHPRWKHUDS\

          3ODLQWLIIV DUH FODLPLQJ WKDW WKH GHIHQGDQWV WKDW ERWK PDQXIDFWXUHG DQG GLVWULEXWHG

   $)))V KHUHLQDIWHU ³0DQXIDFWXUHU 'HIHQGDQWV´ ZKLFK LQFOXGH &KHPJXDUG ,QF DQG

   3HULPHWHU 6ROXWLRQV /3 DQG ³'LVWULEXWRU 'HIHQGDQW´ ZKLFK LQFOXGHV 0DWOLFN (QWHUSULVHV

   ,QF GED 8QLWHG )LUH (TXLSPHQW &RPSDQ\  DUH OLDEOH WR 3ODLQWLIIV XQGHU D VWULFW SURGXFWV

   OLDELOLW\WKHRU\3ODLQWLIIVDOVRDOOHJHWKDWWKH0DQXIDFWXUHU'HIHQGDQWVDUHOLDEOHWR3ODLQWLIIV

   XQGHU D QHJOLJHQW IDLOXUH WR ZDUQ WKHRU\ QHJOLJHQW SODQ RU GHVLJQ WKHRU\ DQG DUH OLDEOH WR

   3ODLQWLIIV IRU SXQLWLYH GDPDJHV /DVWO\ 3ODLQWLIIV DOOHJH ORVV RI FRQVRUWLXP FODLPV DJDLQVW

   'HIHQGDQWV RQ EHKDOI RI (YDQVWDU $ )RUEDFK :HVOH\¶V ZLIH 'HIHQGDQWV¶ GLVSXWH WKH

   DOOHJHGOLDELOLW\FDXVDWLRQDQGGDPDJHV

   2.    CURRENT CASE STATE 7KH FDVH ZDV ILOHG LQ VWDWH FRXUW RQ 0D\  

   'HIHQVH &RXQVHO IRU 'HIHQGDQW 0DWOLFN (QWHUSULVHV ,QF GED 8QLWHG )LUH DQVZHUHG WKH

   FRPSODLQW RQ -XO\   'HIHQVH &RXQVHO IRU 'HIHQGDQW 3HULPHWHU 6ROXWLRQV /3

   DQVZHUHG WKH FRPSODLQW RQ 6HSWHPEHU   'HIHQVH &RXQVHO IRU 'HIHQGDQWV

   &KHPJXDUG,QFDQVZHUHGWKHFRPSODLQWRQ2FWREHU&RXQVHOIRU3ODLQWLIIVVHUYHG

   LQLWLDO GLVFORVXUHV RQ DOO SDUWLHV RQ 1RYHPEHU   &RXQVHO IRU 'HIHQGDQW 3HULPHWHU

                                                          
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    6ROXWLRQV /3 VHUYHG LQLWLDO GLVFORVXUHV RQ DOO SDUWLHV RQ 2FWREHU   &RXQVHO IRU

    'HIHQGDQWV &KHPJXDUG ,QF DQG &RXQVHO IRU 0DWOLFN (QWHUSULVHV ,QF VHUYHG WKHLU LQLWLDO

    GLVFORVXUHVRQDOOSDUWLHVRQ1RYHPEHU

    3.    AMENDMENTS  7KH SDUWLHV GR QRW DQWLFLSDWH ILOLQJ DQ DPHQGPHQW WR DQ\

    SOHDGLQJVDGGLQJDQHZSDUW\WRWKHFDVH

    4.    SETTLEMENT7KHSDUWLHVDJUHHWRHQJDJHLQDPHGLDWLRQZLWKDSULYDWHPHGLDWRU

    7KHSDUWLHVZLOOEHUHDG\IRUDSULYDWHPHGLDWLRQE\-DQXDU\

    5.    READINESS7KLVFDVHZLOOEHUHDG\IRUWULDOE\0DUFK

    6.    JURY$WULDOE\MXU\LVGHPDQGHG

   7.    LENGTH OF TRIAL7KHHVWLPDWHGOHQJWKRIWULDOLVWHQ (10)GD\V

   8.    PREFERENCE7KLVFDVHLVQRWHQWLWOHGWRDSUHIHUHQFHIRUWULDO

   9.    SPECIAL       REQUIREMENTS  7KH SDUWLHV ZLOO QRW UHTXLUH GLVDELOLW\

   DFFRPPRGDWLRQVRUDQLQWHUSUHWHU

   10.   SCHEDULING CONFERENCE 7KH SDUWLHV GR QRW UHTXHVW D 5XOH  G 

   VFKHGXOLQJFRQIHUHQFH

   11.   OTHER MATTERS  7KHUH DUH QR RWKHU PDWWHUV WKH SDUWLHV ZLVK WR EULQJ WR WKH

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                                                  Attorneys for Defendant Perimeter Solutions,
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                                                     Attorneys for Defendant Chemguard, Inc.
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                                                  Attorneys for Defendant Matlick Enterprises,
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